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ADMARKETP LA CE INC.

                                UNITED STATES DISTRICT COCRT
                               SOl'THER:\ DISTRICT OF:\£\\ YORK

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ADMARKETPLACE l"\iC..
                                           Plaintiff,

                     v.                                                      Civil Case No.

TEE SUPPORT, INC. A/KIA TEE SUPPORT,
TEESUPPORT and TEESUPPORT INC.; QIWANG                                       COMPLAINT
COMPUTER LTD. D/B/A TEE SUPPORT; GUANGXI
NANNING QIWANG COMPUTER LTD. D/B/A TEE
SUPPORT; JOHN DOE 1 A/K/A MARK ANDERSON;                                     PLAINTIFF DEMANDS
JOHN DOE 2 A/KIA LUO GANG; JOHN DOE 3                                        TRIAL BY JURY
A/KlA SARAH and SARAH MOCK; JOHN DOE 4
A/KIA CINDY MOORE; and JOHN DOE 5 A/KIA
JOLIN,

                                           Defendants.
--------------------------------------------------------------------     x


        Plaintiff    ad\larketplai.:e     Inc.   I "Plaintiff'   or    ":d\l:.:lrker::-'.-::i.:e" .   b:-   '.:s   ~:-::   :--e: s.

ROONEY P.C., as and for its Complaint against Defendants Tee Support. Inc. A. K ..\ Tee

Support, TeeSupport and TeeSupport Inc.; Qiwang Computer Ltd. D/B/A Tee Support: Guangxi

Nanning Qiwang Computer Ltd. D/B/A Tee Support; John Doe 1 A/K/A Mark Anderson; John

Doe 2 A/K/A Luo Gang; John Doe 3 A/KlA Sarah and Sarah Mock; John Doe 4 A/KlA Cindy

Moore; and John Doe 5 A/KIA Jolin (collectively, "Defendants"), alleges as follows, upon
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knowledge with respect to itself and its own acts, and upon information and belief as to all other

matters:

                                JURISDICTION AND VENUE

       1.     This action arises under the federal Trademark Act of 1946, 15 U.S.C. § 1051 et

seq. (the “Lanham Act”), as amended, and related state statutes and the common law.

       2.     This Court has subject matter jurisdiction under Section 39 of the Lanham Act, 15

U.S.C. § 1121, and 28 U.S.C. § 1331, §§ 1338(a) and (b). This Court also has supplemental

jurisdiction over all state law and common law claims pursuant to 28 U.S.C. § 1367(a) because

the state law claims are so related to the federal trademark claims that they form part of the same

case or controversy, and under principles of pendent jurisdiction.

       3.     This Court has personal jurisdiction over Defendants by virtue of Defendants’

business activities and specific contacts with the State of New York relating to the acts alleged

herein and pursuant to the long arm statutes for the State of New York and also, or in the

alternative, pursuant to Rule 4(k)(2) of the Federal Rules of Civil Procedure.

       4.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b) and (c) because, upon

information and belief, Defendants are doing and transacting business in this Judicial District;

Defendants have substantial contacts with this Judicial District; a substantial portion of the

events at issue have arisen and continue to occur in this Judicial District; and Defendants have

committed the tortious acts complained of herein in this Judicial District, among others.

                                            PARTIES

       5.     Plaintiff is a corporation organized under the laws of the State of Delaware, with its

principal place of business located at 3 Park Ave, 27th Floor, New York, NY 10016.




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       6.     Upon information and belief, Defendant Tee Support, Inc. is a corporation

organized under the laws of the People’s Republic of China, with its corporate offices located at

Floor #4, Diwang International Commerce Center, Nanning City, Guangxi, People’s Republic of

China 530003. Upon information and belief, Defendant Tee Support, Inc. is also known as Tee

Support, TeeSupport, and TeeSupport, Inc.

       7.     Upon information and belief, Defendant Qiwang Computer Ltd. D/B/A Tee

Support (also known as TeeSupport) is a company organized under the laws of the People’s

Republic of China, with its office located at Keyuan Dadao Kechuang Dasha 626, Nanning,

Guangxi, People’s Republic of China 530003.

       8.     Upon information and belief, Defendant Guangxi Nanning Qiwang Computer Ltd.

D/B/A Tee Support (also known as TeeSupport) is a company organized under the laws of the

People’s Republic of China, with its office located at Keyuan Dadao Kechuang Dasha 626,

Nanning, Guangxi, People’s Republic of China 530003.

       9.     Upon information and belief, Defendant John Doe 1, an individual or entity whose

actual name is unconfirmed, is one of the registrants of the domain name teesupport.com.

       10.    Upon information and belief, Defendant John Doe 1 has used the name Mark

Anderson. Upon information and belief, Defendant John Doe 1 is, directly and/or indirectly,

engaged in, and/or is directing, controlling, ratifying, facilitating, promoting, or otherwise

participating in, the advertisement, promotion, sale, distribution, and supply of services under the

name(s) TEE SUPPORT, INC., TEESUPPORT INC., TEE SUPPORT and/or TEESUPPORT

(collectively referred to herein as “TEESUPPORT”), and/or benefits financially from the sale of

services under the name TEESUPPORT, as set forth herein, but whose identity, actual name,

address and telephone number is unconfirmed or presently unknown.




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       11.    Upon information and belief, Defendant John Doe 2 is an individual or entity

whose actual name is unconfirmed.

       12.    Upon information and belief, Defendant John Doe 2 has used the name Luo Gang

and has used the title President. Upon information and belief, Defendant John Doe 2 is, directly

and/or indirectly, engaged in, and/or is directing, controlling, ratifying, facilitating, promoting, or

otherwise participating in, the advertisement, promotion, sale, distribution, and supply of

services under the name TEESUPPORT, and/or benefits financially from the sale of services

under the name TEESUPPORT, as set forth herein, but whose identity, actual name, address and

telephone number is unconfirmed or presently unknown.

       13.    Upon information and belief, Defendant John Doe 3 is an individual or entity

whose actual name is unconfirmed.

       14.    Upon information and belief, Defendant John Doe 3 has used the name Sarah and

Sarah Mock and has authored advertisements for services for TEESUPPORT at the website

located at http://removevirustool.blogspot.com.       See, for example, the August 21, 2012 Ad

(defined below), Exhibit A. Upon information and belief, Defendant John Doe 3 is, directly

and/or indirectly, engaged in, and/or is directing, controlling, ratifying, facilitating, promoting, or

otherwise participating in, the advertisement, promotion, sale, distribution, and supply of

services under the name TEESUPPORT, and/or benefits financially from the sale of services

under the name TEESUPPORT, as set forth herein, but whose identity, actual name, address and

telephone number is unconfirmed or presently unknown.

       15.    Upon information and belief, Defendant John Doe 4 is an individual or entity

whose actual name is unconfirmed.




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       16.    Upon information and belief, Defendant John Doe 4 has used the name Cindy

Moore and has authored advertisements for services under TEESUPPORT at the website located

at http://blog.teesupport.com. See, for example, the December 27, 2012 Ad (defined below),

Exhibit B. Upon information and belief, Defendant John Doe 4 is, directly and/or indirectly,

engaged in, and/or is directing, controlling, ratifying, facilitating, promoting, or otherwise

participating in, the advertisement, promotion, sale, distribution, and supply of services under the

name TEESUPPORT, and/or benefits financially from the sale of services under the name

TEESUPPORT, as set forth herein, but whose identity, actual name, address and telephone

number is unconfirmed or presently unknown.

       17.    Upon information and belief, Defendant John Doe 5 is an individual or entity

whose actual name is unconfirmed.

        18.   Upon information and belief, Defendant John Doe 5 has used the name Jolin and

has authored advertisements for services for TEESUPPORT at the website located at

http://blog.teesupport.com. See, for example, the February 18, 2012 Ad (defined below), Exhibit

C1. Upon information and belief, Defendant John Doe 5 is, directly and/or indirectly, engaged

in, and/or is directing, controlling, ratifying, facilitating, promoting, or otherwise participating in,

the advertisement, promotion, sale, distribution, and supply of services under the name

TEESUPPORT, and/or benefits financially from the sale of services under the name

TEESUPPORT, as set forth herein, but whose identity, actual name, address and telephone

number is unconfirmed or presently unknown.




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                                  FACTUAL BACKGROUND

Plaintiff and its Business, Trademarks, and Web Domains

       19.    Plaintiff is a highly successful technology company with the largest search

advertising network outside of Google and Yahoo. Plaintiff delivers data-driven performance to

the Internet’s leading marketers through a technology platform that adjusts bids by both keyword

and traffic source. Plaintiff does business with thousands of online publishers and advertisers,

delivering premium Pay-Per-Click traffic to advertisers.

       20.    Since at least as early as September 2002, Plaintiff has invested substantial time,

effort and resources in connection with the marketing and promotion of its services provided

under the ADMARKETPLACE trademark.

       21.    Since at least as early as May 2007, Plaintiff has invested time, effort and resources

into maintaining the websites appearing at www.ampnetwork.net, a domain name used in

connection with the provision of Plaintiff’s services, through which Plaintiff validates the

authenticity of traffic across its Pay-Per-Click network.        Plaintiff prominently displays its

AMPNETWORK trademark at the ampnetwork.net website and uses the AMPNETWORK

trademark in connection with Internet advertising services. Having been in use in connection

with Plaintiff’s business for many years, AMPNETWORK is one of the main ways Plaintiff’s

customers identify Plaintiff and the web traffic that is coming via Plaintiff.

       22.    As    a   result   of   Plaintiff’s   continuous    and   systematic   use   of   the

ADMARKETPLACE mark and the AMPNETWORK mark in commerce and the commercial

success of the services sold under the marks, Plaintiff has obtained and achieved substantial

goodwill in and to the ADMARKETPLACE and AMPNETWORK trademarks (collectively

herein referred to as the “Marks”).




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        23.    The Marks have come to represent the valuable goodwill and reputation of Plaintiff

as a provider of high quality online advertising, marketing and online monetization services.

Consumers and others in the industry have come to favorably know, recognize and identify such

services under the Marks as originating from Plaintiff. As a result of Plaintiff’s long and

continuous use of the Marks, and advertising and promotional efforts connected therewith, the

ADMARKETPLACE and AMPNETWORK marks have acquired distinctiveness as source

identifiers.

        24.    Plaintiff has acquired a reputation for excellence and outstanding service to

customers. Plaintiff owns all trademark rights to the Marks, including without limitation, all

common law trademarks rights for use in connection with online advertising, marketing and

online monetization services.     The goodwill associated with the ADMARKETPLACE and

AMPNETWORK names and the Marks is a very valuable business asset to Plaintiff.

        25.    In connection with its business, Plaintiff advertises and promotes its services at

several websites owned by Plaintiff, including those appearing at www.admarketplace.com. In

addition, Plaintiff uses certain domain names and the website(s) appearing, for example, at

www.ampnetwork.net, as a portal through which clients of Plaintiff, advertisers and publishers,

feed advertisements.     (The admarketplace.com and the ampnetwork.net domain names are

collectively referred to herein as the “Domain Names”). The Domain Names and Internet traffic

to and through the Domain Names are an integral component of Plaintiff’s business, which

revolves around Internet advertising. Customers, clients, the industry, and the public identify

Plaintiff and its services through the Domain Names.




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Defendants and their Advertisements

         26.     Upon information and belief, Defendants, individually and/or collectively, provide

online technical support to individual consumers and small businesses under the name

TEESUPPORT. Defendants’ stated technical support services include, without limitation, virus

removal, data recovery and system maintenance as set forth in the website screenshots and

printouts attached hereto as Exhibit D.

         27.     Upon information and belief, Defendants provide their services to Internet users all

over the United States, including individuals and businesses located in this judicial district in the

State of New York.

         28.     Upon information and belief, Defendants published content on the Internet

accessible at http://blog.teesupport.com and published content on the Internet accessible at

http://removevirustool.blogspot.com (collectively, the “Advertisements”), copies of which are

attached as Exhibits A, B, C1 and E. The Advertisements appear on the Internet and are

accessible throughout the world.

         29.     The Advertisements purport to inform readers about existing computer issues such

as viruses, spyware and malicious computer software (“malware”) and recommend steps and

tools to help resolve those computer issues. The Advertisements appear at websites that, at first

blush,    look     like   informational   blogs.      In   actuality,   however,   the   content    at

http://blog.teesupport.com and http://removevirustool.blogspot.com promotes Defendants’

business(es) and services to fix computer problems, and through links appearing on the web

page(s), directs Internet users to Defendants’ website(s) and web pages for the purchase of

Defendants’       services.     Accordingly,    the   content   at   http://blog.teesupport.com    and




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http://removevirustool.blogspot.com are advertisements used to advertise and promote the sale of

Defendants’ services for profit even if they were posted for “free” under the guise of blogs.

Defendants’ Statements About Plaintiff and Plaintiff’s Services

        30.    In the Advertisements, Defendants state that ADMARKETPLACE.COM and

AMPNETWORK.NET are malicious viruses or malware which must be removed and that, by

using Defendants’ services which can be purchased through the Internet or by telephone, users

can remove these purported viruses or malware.

        31.    In particular, in one Advertisement, which was placed on a weblog serviced by

Google, dated August 21, 2012 (the “August 21, 2012 Ad”), a copy of which is attached hereto

as Exhibit A,1 Defendants allege that AMPNETWORK.NET is a “redirect virus” which causes

“computer stability [to] be violated … security settings [to] be changed and … parasites [to] kick

in,” among other intrusive and harmful effects. Defendants suggest that those associated with

AMPNETWORK.NET are using the “malware” for financial gain.

        On first look, Ampnetwork.net is a plain site which promotes search syndication
        and encourage users to become network partners. Whereas, even careless users
        may have found that it’s really a poorly-established sites with half-covered-up
        contact email. Such Google Redirect Virus is elaborated to obtain revenue from
        the artificially re-routed traffic. Generally it’s bundled with freeware or shareware
        and slips into the system along with the parastifier program installation without
        explicit consent. In addition to frequent search redirect and sluggish response,
        some observant users may take notice of other changes such as the modified
        warning boxes and numerous suspicious sites are added to favorites. Only a small
        percentage of users know that it’s also capable of tracking online activities and
        forwarding them to remote servers. Furthermore, if there is no timely action taken
        to completely remove Ampnetwork.net malware, the computer stability will be
        violated since security settings will be changed and more parasites will kick in.

        32.    The August 21, 2012 Ad instructs readers to “contact a 24/7 online expert” at

TeeSupport to “get rid of Ampnetwork.net redirect virus.”

1
  The August 21, 2012 Ad is accessible at http://removevirustool.blogspot.com/2012/08/how-to-manually-delete-
remove.html, http://removevirustool.blogspot.com/search?q=ampnetwork,
http://removevirustool.blogspot.com/2012_08_01_archive.html and http://removevirustool.blogspot.com/2012.


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        33.    In another Advertisement dated December 27, 2012 (the “December 27, 2012 Ad”),

a copy of which is attached hereto as Exhibit B, 2 Defendants allege that AMPNETWORK.NET

is a “malicious computer redirect virus participating in a large-scale search engine hijack” which

“is created with malicious code” and will “shut down … anti-virus and anti-spyware programs,”

and “infect and corrupt [a user’s] registry, leaving [the user’s] computer totally unsafe.”

Defendants further allege that the virus designers aim to get money via the virus’ activities,

among other things.

        Ampnetwork.net (http://ampnetwork.net/) is a malicious computer redirect virus
        participating in a large-scale search engine hijack…. Firstly, this pest infiltrates
        target PCs breezily without any alarm and easily bypasses Windows firewall &
        security software in some cases. This sort of phenomenon is triggered by a rootkit
        which is a really intricate cyber threat. Secondly, every time when you visit your
        favorite domains, the http://ampnetwork.net/ and more related URLs pop up
        because it may replace your default homepage or reroute you from SERPs (search
        engine results pages) replacing the actual link you intent to navigate-that’s where
        the greatest problem is. Even though you make efforts to get back the homepage
        or reinstall your browser, only to find all the attempts turn to be in vain. You
        always get the traffic redirected to unwanted pages from legitimate search
        engines. Under such circumstance, all your search results will be controlled by
        Ampnetwork.net rather than your original search provider. Please beware that the
        designers of the redirect infection don’t just expect to disturb your browser habits,
        they own more dangerous goals, and to be clear, money is their ultimate purpose.
        In a word, it’s of high importance to uninstall Ampnetwork.net nuisance as well
        as its associated malware campaign quickly and completely to protect the security
        of infected machines and users’ properties.

        34.    The December 27, 2012 Ad further states the following to be “[s]everal [h]armful

[p]roperties [e]mbodied in Ampnetwork.net”:

        This redirect virus will constantly redirect your internet connection and tell you
        that you are browsing unsafely. Your computer is acting slowly. This web
        browser slows down your system significantly. This includes starting up, shutting
        down, playing games, and surfing the web. Searches are redirected or your
        homepage and desktop are settings are changed. This is an obvious symptom of
        this infection. The cyber threat will shut down your other anti-virus and anti-

2
  The December 27, 2012 Ad is accessible at http://blog.teesupport.com/infected-with-ampnetwork-net-redirect-
virus-how-to-remove-amp-network-net/. Additionally, users can access the December 27, 2012 Ad by visiting
http://blog.teesupport.com/page/37/ or http://blog.teesupport.com/?s=ampnetwork.


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        spyware programs. It will also infect and corrupt your registry, leaving your
        computer totally unsafe. You are getting pestered with lots of pop ups. The
        hijacker virus infects your registry and uses it to launch annoying pop up ads out
        of nowhere.

        35.   The December 27, 2012 Ad scares readers into purchasing Defendants’ services by

stating “manually remov[ing] Ampnetwork.net by yourself … can permanently damage your

system” and “manual spyware removal is recommended for skilled users only.” Users should

“get help from an Online Computer Expert” at TeeSupport to get rid of Ampnetwork.net.

        36.   Also, in an Advertisement dated July 16, 2012 (the “July 16, 2012 Ad”), a copy of

which    is   attached   hereto   as   Exhibit    E, 3   Defendants   posted    content    regarding

mysearchresults.com, a site unrelated to Plaintiff, claiming that “mysearchresults.com is

malicious virus that could be installed to a weak system as undesirable toolbar….” In the July

16, 2012 Ad, Defendants also state that “admarketplace.com must be terminated as soon as

possible no matter it’s [sic] your home computer or work computer.” [Emphasis added.]

        37.   In addition, Defendants misuse Plaintiff’s ADMARKETPLACE trademark within

meta tags embedded within computer code at Defendants’ website blog.teesupport.com. A

search for “admarketplace” on blog.teesupport.com brings up an Advertisement dated February

18, 2012 entitled “How to Remove Google Redirect Virus Manually, Help to Eliminate Google

Redirect Virus From Windows Xp/Vista/7” (the “February 18, 2012 Ad”), a copy of which is

attached hereto as Exhibit C1. 4 See also Exhibit C2, excerpt of the related source code page.

Although there are no visible references to “admarketplace” on the post or webpage itself, a

reader is led to believe that adMarketplace is associated with a virus simply based on the fact that

a search for “admarketplace” brings up the post—a post that discusses how to remove a virus.


3
   The July 16, 2012 Ad can be found on http://removevirustool.blogspot.com/search?q=admarketplace or
http://removevirustool.blogspot.com/2012/07/remove-nasty-mysearchresultscom.html.
4
  The February 18, 2012 Ad can be found on http://blog.teesupport.com/?s=admarketplace.


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The Truth

        38.        Plaintiff is a legitimate business that provides valuable services.       Defendants’

characterizations and statements about Plaintiff, the Domain Names, and Plaintiff’s services are

unfounded and false.

        39.        Plaintiff does not make, use, distribute or promote viruses or malware. Nor does

Plaintiff     in     any   way    participate   in   downloadable       software   distribution   through

ADMARKETPLACE.COM, AMPNETWORK.NET or otherwise. ADMARKETPLACE.COM

and AMPNETWORK.NET are legitimate and reputable websites. Plaintiff is not a virus or

malware.      Plaintiff’s services are not viruses or malware and do not distribute viruses or

malware.

        40.        Defendants’   statements     relating   to   Plaintiff,   ADMARKETPLACE.COM,

AMPNETWORK.NET, and the Marks are false and misleading.                        The Advertisements and

Defendants’ activities state and give Internet users, including Plaintiff’s customers and

prospective customers, the false impression that Plaintiff, its business, its services, and/or the

Domain Names are viruses or malware, or are linked with viruses or malware, used or created to

disrupt computer operations, gain access to private computer systems, and gather sensitive

information for dishonest financial gain.

        41.        As a result of Defendants’ conduct, Internet users, including Plaintiff’s customers

and prospective customers, have already associated and/or will associate the services provided

by Plaintiff and the websites maintained and used by Plaintiff with these undesirable and harmful

items, e.g., viruses and malware, and/or Internet users seeking Plaintiff and its services may

discontinue their search for, and their interest in engaging, Plaintiff.




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       42.    The Advertisements also give Internet users, including Plaintiff’s customers and

prospective customers, the false impression that Defendants’ services are appropriate for, and

capable of, removing malware that does not actually exist.

Plaintiff’s Prior Notice to Defendants

       43.    In June of 2012, Plaintiff sent written notice to Defendant Tee Support, Inc. and

Defendant John Doe 1 notifying them that their advertisements for virus and spyware removal

services publish false and misleading representations and statements about adMarketplace. A

copy of Plaintiff’s June 29, 2012 letter (the “June 29, 2012 Letter”) is attached hereto as Exhibit

F.

       44.    Specifically, the June 29, 2012 Letter noted that the Defendants’ promotion of the

use and sale of Defendants’ services to get rid of “Admarketplace.com,” a purported “fraudulent

web hijacker malware which promotes notorious fake antispyware application,” “block[s]

security software,” and “flood[s] [users] with numerous commercial advertisements,” among

other intrusive and harmful effects, was baseless, false and misleading.               Defendants’

advertisements also recommended its “expert skills” and services in order to remove

Admarketplace.com—another false and misleading statement.

       45.    Plaintiff demanded, among other things, that Defendant Tee Support, Inc. and

Defendant John Doe 1 immediately remove all web-based content and advertising relating to

“adMarketplace” and “admarketplace.com.”

       46.    At the same time, Plaintiff sent a letter to SoftLayer Technologies, Inc.

(“SoftLayer”),     the   Internet   Service   Provider      that   hosted    Defendants’   website,

www.teesupport.com, requesting, among other things, SoftLayer’s cooperation to remove

Defendants’      web-based   content   and    advertising    relating   to   “adMarketplace”   and




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“admarketplace.com” from all websites managed or controlled by SoftLayer. See Exhibit G, a

copy of the June 29, 2012 letter to SoftLayer (the “June 29, 2012 SoftLayer Letter”). Although

Plaintiff never received a response from Defendant Tee Support, Inc. or Defendant John Doe 1,

on or about July 23, 2012, the web-based content and advertising of which Plaintiff complained

in the June 29, 2012 Letter and the June 29, 2012 SoftLayer Letter were removed.

       47.     On or about November 16, 2012, upon learning of the new content as set forth

above, Plaintiff sent Defendants another letter notifying Defendants, again, that they were

causing irreparable damage to Plaintiff and its reputation through Defendants’ baseless, false,

and misleading claims about Plaintiff and its services. Plaintiff requested that Defendants rectify

the problem immediately by “(1) tak[ing] down and remov[ing] all websites and web pages that

contain advertisements and/or references to AMPNETWORK.NET in connection with

Defendants’ services and/or offerings; (2) ceas[ing] all promotion of its services and/or offerings

for use in connection with the removal of “AMPNETWORK.NET”; and (3) remov[ing] all

existing content, and ceas[ing] from publishing commentary and advertisements, concerning

AMPNETWORK.NET.” See Exhibit H, a copy of the November 16, 2012 letter to Defendants.

       48.     Despite Plaintiff’s November 16, 2012 letter, Defendants have failed to respond to

Plaintiff or to take any corrective action.

       49.     Upon information and belief, Defendants are willfully creating derogatory and

harmful content to the detriment of Plaintiff and to the benefit of Defendants for financial gain.

       50.     Upon information and belief, Defendants make false and misleading statements

about Plaintiff and its services in order to cause consumers to purchase Defendants’ products and

services.




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         51.   Defendants’ conduct and activities will cause Plaintiff to lose customers and has

already caused Plaintiff to lose potential customers who chose not to engage Plaintiff because of

Defendants’ statements and conduct.

         52.   Indeed, on or about June 25, 2012, Plaintiff was contacted by a potential customer

who was initially interested in engaging Plaintiff’s services but chose not to because of the

content concerning Plaintiff published by Defendants.

         53.   Defendants’ activities have thereby caused and/or will cause Plaintiff to lose

customers and business and have negatively impacted the reputation of Plaintiff.

         54.   Defendants’ actions are deliberate and willful with full knowledge that their

statements are false or were committed in reckless disregard of the truth or falsity of their

statements.

                                 FIRST CLAIM FOR RELIEF
                                      False Representation,
                        Unfair Competition And False Advertising (Federal)

         55.   Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 54, inclusive, of this Complaint with the same force and effect as if fully set forth herein.

         56.   As set forth above, Defendants, in connection with their promotion and offering of

their services, make false claims about Plaintiff and its services. Defendants also make false

claims that their services remove a specified malware even though Defendants know or have

reason to know that their services do not remove such malware because such malware does not

exist.

         57.   Defendants’ unlawful and improper actions as set forth above have deceived and/or

are likely to deceive customers into believing that Plaintiff’s services are harmful and damaging,

that they should avoid Plaintiff, and that they should not use Plaintiff’s services.




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       58.     Plaintiff’s customers and potential customers who view the Advertisements

published by Defendants have been, and are likely to be deceived, into thinking that Plaintiff’s

services are, or are related to, viruses or malware.

       59.     Defendants’ acts constitute the use in commerce of false descriptions or

representations.

       60.     Defendants, by falsely representing that Plaintiff, its services, and the

ADMARKETPLACE and AMPNETWORK trademarks are malware or a virus with intrusive

and harmful effects, are misrepresenting the nature, characteristics and qualities of Plaintiff’s

services.

       61.     Defendants’ false statements have materially affected or are likely to have a

material effect on the purchasing decisions of Plaintiff’s customers and prospective customers.

       62.     Defendants’ acts of false description and false representation, unfair competition

and false advertising have caused Plaintiff to sustain monetary damage, loss, and injury, in an

amount to be determined at trial.

       63.     Defendants have engaged in these activities knowingly and willfully, so as to

justify the assessment of treble damages under 15 U.S.C. § 1117.

       64.     Defendants’ acts of false description and false representation, unfair competition

and false advertising, unless enjoined by this Court, will continue to cause Plaintiff to sustain

irreparable damage, loss and injury, for which Plaintiff has no adequate remedy at law.

                               SECOND CLAIM FOR RELIEF
                            Unfair Competition, False Advertising and
                                Misappropriation (Common Law)

       65.     Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 64, inclusive, of this Complaint with the same force and effect as if fully set forth herein.



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         66.   In the Advertisements, Defendants use false and misleading representations

concerning Plaintiff, Plaintiff’s services, and Plaintiff’s business in order to promote Defendants’

services.

         67.   Plaintiff has expended considerable labor, skill and money to build its reputation

and goodwill as a provider of high quality online advertising, marketing and online monetization

services.

         68.   Defendants misappropriate Plaintiff’s reputation and renown in the online

advertising industry in order to promote Defendants’ own business for commercial advantage,

while tarnishing Plaintiff’s reputation and goodwill in the process.

         69.   Defendants’ unlawful activities, as set forth above, misappropriate and trade upon

the reputation and goodwill of Plaintiff in the Marks, thereby injuring that reputation and

goodwill.

         70.   Defendants’ unlawful activities constitute unfair competition, false advertising and

misappropriation as proscribed by the common law.

         71.   Defendants’ acts of unfair competition, false advertising and misappropriation have

caused Plaintiff to sustain monetary damage, loss and injury, in amounts to be determined at

trial.

         72.   Defendants’ acts of unfair competition, false advertising and misappropriation,

unless enjoined by this Court, will continue to cause Plaintiff to sustain irreparable damage, loss

and injury, for which Plaintiff has no adequate remedy at law.




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                                  THIRD CLAIM FOR RELIEF
                                   Deceptive Acts and Practices
                                   NY GEN. BUS. LAW § 349

        73.   Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 72, inclusive, of this Complaint with the same force and effect as if fully set forth herein.

        74.   Through the Advertisements, in which Defendants promote and offer to sell its

services by means of false claims about Defendants’ own services and Plaintiff and its services,

as set forth above, Defendants have engaged in and are engaging in consumer-oriented conduct

that has materially affected the public interest of the State of New York and has resulted in injury

to consumers in the State of New York.

        75.   Defendants’ acts constitute deceptive acts or practices in the conduct of any

business, trade or commerce or in the furnishing of any service and present a continuing threat to

the consuming public in that the public is likely to be deceived and misled in a material respect

as to the nature, characteristics and qualities of Defendants’ services, as well as the nature,

characteristics and qualities of Plaintiff’s services.

        76.   Customers are likely to be misled into buying Defendants’ services.

        77.   By virtue of the aforementioned acts and conduct, Defendants have engaged, and

continue to engage, in deceptive acts and practices in violation of the New York General

Business Law § 349 to the detriment of Plaintiff.

        78.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

been injured and will continue to suffer injury to Plaintiff’s reputation, business, and goodwill,

and the lessening of goodwill associated with Plaintiff’s trademark and its services sold in

connection with the Marks.




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        79.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

suffered and will continue to suffer injury in fact resulting in the loss of money, goodwill and/or

property in an amount to be determined at trial.

        80.   In addition, Defendants have caused and, unless enjoined and restrained, will

continue to cause irreparable harm to Plaintiff, for which Plaintiff has no adequate remedy at

law.

                                 FOURTH CLAIM FOR RELIEF
                                       False Advertising
                                   NY GEN. BUS. LAW § 350

        81.   Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 80, inclusive, of this Complaint with the same force and effect as if fully set forth herein.

        82.   Through the Advertisements, in which Defendants promote and offer to sell its

services by means of false claims about Defendants’ own services and Plaintiff and its services,

as set forth above, Defendants have engaged in and are engaging in consumer-oriented conduct

that has materially affected the public interest of the State of New York and has resulted in injury

to consumers in the State of New York.

        83.   Defendants’ acts constitute false advertising in the conduct of any business, trade or

commerce or in the furnishing of any service and present a continuing threat to the consuming

public in that the public is likely to be deceived and misled in a material respect as to the nature,

characteristics and qualities of Defendants’ services, as well as the nature, characteristics and

qualities of Plaintiff’s services.

        84.   By virtue of the aforementioned acts and conduct, Defendants have engaged, and

continue to engage, in false advertising in violation of the New York General Business Law

§ 350 to the detriment of Plaintiff.




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        85.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

been injured and will continue to suffer injury to Plaintiff’s reputation, business, and goodwill,

and the lessening of goodwill associated with Plaintiff’s trademark and its services sold in

connection with the Marks.

        86.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

suffered and will continue to suffer injury in fact resulting in the loss of money, goodwill and/or

property in an amount to be determined at trial.

        87.    In addition, Defendants have caused and, unless enjoined and restrained, will

continue to cause irreparable harm to Plaintiff, for which Plaintiff has no adequate remedy at

law.

                                  FIFTH CLAIM FOR RELIEF
                       Injury to Business Reputation and Trademark Dilution
                                   NY GEN. BUS. LAW § 360-L

        88.    Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 87, inclusive, of this Complaint with the same force and effect as if fully set forth herein.

        89.    Through prominent, long and continuous use in commerce, including commerce

within New York, Plaintiff’s mark ADMARKETPLACE has become and continues to be

distinctive.

        90.    Defendants’ use of the Marks, including placement of the ADMARKETPLACE

trademark within meta tags embedded into Defendants’ website, in connection with the sale and

advertisement of Defendants’ services is a commercial use of Plaintiff’s trademark.

        91.    Defendants’ use began after Plaintiff’s mark became distinctive.

        92.    Defendants’ use of Plaintiff’s ADMARKETPLACE trademark has diluted, and is

likely to cause dilution of, the distinctive quality and the value of the mark through tarnishment.




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        93.   Due to Defendants’ use of Plaintiff’s ADMARKETPLACE trademark, Plaintiff’s

mark will lose its ability to serve as a unique identifier of Plaintiff’s services.

        94.   Defendants have also tarnished and continue to tarnish Plaintiff’s mark by

improperly associating the mark with harmful and offensive materials.

        95.   By virtue of the aforementioned acts and conduct, Defendants have knowingly and

willfully caused, and continue to cause, injury to Plaintiff’s business reputation and dilution of

the distinctive quality of Plaintiff’s trademark, in violation of the New York General Business

Law § 360-L to the detriment of Plaintiff.

        96.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff has

been injured and will continue to suffer injury to Plaintiff’s reputation, business, and goodwill,

and the lessening of goodwill associated with Plaintiff’s trademark and its services sold in

connection with the ADMARKETPLACE trademark.

        97.   Defendants have caused and, unless enjoined and restrained, will continue to cause

irreparable harm to Plaintiff, for which Plaintiff has no adequate remedy at law.

                                SIXTH CLAIM FOR RELIEF
      Tortious Interference with Prospective Contractual Relations and Business Relations

        98.   Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 97, inclusive, of this Complaint with the same force and effect as if fully set forth herein.

        99.   Through the Advertisements, in which Defendants promote and offer to sell its

services by means of false claims about Defendants’ own services and Plaintiff and its services,

as set forth above, Defendants intentionally interfered with Plaintiff’s prospective contractual

relations and business relations.

        100. Plaintiff had a reasonable expectancy of continuing contractual relationships with

current customers and of entering into contracts with prospective customers.



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          101. Plaintiff had made Defendants aware of the injury they were causing Plaintiff; yet

Defendants have not ceased their actions and conduct.

          102. But for the Advertisements and Defendants’ intentional and wrongful conduct,

Plaintiff’s customers would have continued to engage, and prospective customers would have

engaged, Plaintiff’s services.

          103. By virtue of the previously described acts, Defendants have caused damage and

irreparable injury to Plaintiff in an amount to be determined at trial.

                               SEVENTH CLAIM FOR RELIEF
                        Defamation—Libel Per Se—Injury to Business Trade

          104. Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 103, inclusive, of this Complaint with the same force and effect as if fully set forth

herein.

          105. Defendants made false statements of fact regarding Plaintiff and its services,

including the Domain Names.

          106. Defendants published these false statements to third parties through the

advertisements posted on Defendants’ websites.

          107. Upon information and belief, the advertisements on Defendants’ websites were

created for commercial and economic gain and are designed to entice consumers to purchase

Defendants’ products and services.

          108. Upon information and belief, Defendants published or caused to be published this

false information about Plaintiff and its services with knowledge of its falsity or with a reckless

disregard of its truth or falsity.




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          109. Upon information and belief, Defendants published this information with the intent

to harm Plaintiff’s interests or with knowledge that harm to Plaintiff’s interests would inevitably

result.

          110. Defendants’ statements are libelous per se because they injure Plaintiff in its

business trade.

          111. By virtue of the previously described acts, Defendants have caused damage and

irreparable injury to Plaintiff in an amount to be determined at trial.

          112. Defendants’ acts will result in further damage and irreparable injury if Defendants

are not restrained from violating Plaintiff’s rights, for which Plaintiff has no adequate remedy at

law.

                                   EIGHTH CLAIM FOR RELIEF
                        Defamation—Libel Per Se—Accusation of Criminal Conduct

          113. Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 112, inclusive, of this Complaint with the same force and effect as if fully set forth

herein.

          114. Defendants made false statements of fact regarding Plaintiff and its services,

including the Domain Names.

          115. Defendants published these false statements to third parties through the

advertisements posted on Defendants’ websites.

          116. Upon information and belief, the advertisements on Defendants’ websites were

created for commercial and economic gain and are designed to entice consumers to purchase

Defendants’ products and services.




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          117. Upon information and belief, Defendants published or caused to be published this

false information about Plaintiff and its services with knowledge of its falsity or with a reckless

disregard of its truth or falsity.

          118. Upon information and belief, Defendants published this information with the intent

to harm Plaintiff’s interests or with knowledge that harm to Plaintiff’s interests would inevitably

result.

          119. Defendants’ statements are libelous per se because they accuse Plaintiff of

committing a serious crime.

          120. By virtue of the previously described acts, Defendants have caused damage and

irreparable injury to Plaintiff in an amount to be determined at trial.

          121. Defendants’ acts will result in further damage and irreparable injury if Defendants

are not restrained from violating Plaintiff’s rights, for which Plaintiff has no adequate remedy at

law.

                                        NINTH CLAIM FOR RELIEF
                                     Trade Libel and Product Disparagement

          122. Plaintiff repeats, reiterates and realleges each and every allegation in paragraphs 1

through 121, inclusive, of this Complaint with the same force and effect as if fully set forth

herein.

          123. Defendants made false statements of fact regarding Plaintiff’s business, commercial

activities, and services, including the Domain Names.

          124. Defendants published these false statements to third parties through the

advertisements posted on Defendants’ websites.




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          125. Upon information and belief, the advertisements on Defendants’ websites were

created for commercial and economic gain and are designed to entice consumers to purchase

Defendants’ products and services.

          126. Upon information and belief, Defendants published or caused to be published this

false information about Plaintiff’s business, commercial activities, and services, including the

Domain Names, with knowledge of its falsity or with a reckless disregard of its truth or falsity.

          127. Upon information and belief, Defendants published this information with the intent

to harm Plaintiff’s interests or with knowledge that harm to Plaintiff’s interests would inevitably

result.

          128. By virtue of Defendants’ false and misleading statements as set forth herein, and by

alleging that Plaintiff’s services are, or are related to, harmful malware, Defendants have

intentionally disparaged the quality of Plaintiff’s services and interfered with Plaintiff’s business.

          129. Defendants’ publication of the false and misleading statements was a substantial

factor in inducing prospective customers not to have business dealings with Plaintiff.

          130. As a direct and proximate result of Defendants’ false and misleading statements

about Plaintiff’s business, commercial activities, and services, and as a direct and proximate

result of Defendants’ trade libel against Plaintiff’s product and services, Plaintiff has suffered

monetary damages in an amount to be proven at trial.

          131. As a further direct and proximate result of Defendants’ publication of false and

disparaging information about Plaintiff’s services, Plaintiff has suffered special damages, at least

including loss of profits and loss incurred in having to expend time and money to correct the

misrepresentations made by Defendants.




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       132. Defendants’ acts will result in further damage and irreparable injury if Defendants

are not restrained from violating Plaintiff’s rights, for which Plaintiff has no adequate remedy at

law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests this Court grant judgment against

Defendants on all causes of action as follows:

       A.      For a preliminary and permanent injunction against Defendants, restraining and

enjoining Defendants from:

              i.   displaying content that connect or associate, in any way, Plaintiff and/or its

                   services with a virus, malware, removal or removal tools, or otherwise

                   suggesting that Plaintiff or its services are harmful to Internet users;

             ii.   using the ADMARKETPLACE or AMPNETWORK trademarks (however

                   spelled, whether capitalized, abbreviated, singular or plural, printed or

                   stylized, whether used alone or in combination with any word or words,

                   whether used as an Internet domain name or in meta tags or other Internet

                   uses, and whether used in caption, text, orally or otherwise), or any other

                   reproduction, counterfeit, copy, colorable imitation or confusingly similar

                   variation of the marks, to suggest in any way that Plaintiff and/or its services

                   are a virus or malware, or require removal or removal tools, or otherwise

                   suggesting that Plaintiff or its services are harmful to Internet users;

            iii.   using in connection with any goods or services any false or deceptive

                   designation, description or representation, whether by words or symbols,

                   which suggests or implies in any way that Plaintiff and/or its services are a




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                      virus or malware, or require removal or removal tools, or which otherwise

                      suggests that Plaintiff or its services are harmful, or which gives Defendants

                      an unfair competitive advantage in the marketplace, or which constitutes false

                      advertising;

             iv.      engaging in any acts of common law unfair competition, false advertising or

                      misappropriation which would damage or injure Plaintiff;

              v.      engaging in any deceptive acts and practices, false advertising, unfair

                      competition which would damage or injure Plaintiff;

             vi.      engaging in any acts which injure Plaintiff’s business reputation or denigrate

                      the quality of Plaintiff’s services;

            vii.      effecting assignments or transfers, forming new entities or associations, or

                      utilizing any other device for the purpose of circumventing or otherwise

                      avoiding the prohibitions set forth in any final judgment or order in this

                      action; and

            viii.     inducing, encouraging, instigating, aiding, abetting or contributing to any of

                      the aforesaid acts.

       B.          For an award of Defendants’ profits or other advantages and Plaintiff’s damages

resulting from Defendants’ unlawful acts set forth herein, in an amount to be proven at the time

of trial, together with legal interest from the date of accrual thereof.

       C.       For an award requiring Defendant, at its own expense, to furnish and distribute

corrective marketing literature in a form to be approved by Plaintiff to acknowledge Defendants’

violations of the law hereunder, and to ameliorate the false and deceptive impressions produced

by such violations.




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          D.    For an award of treble damages, in an amount to be proven at the time of trial,

pursuant to 15 U.S.C. § 1117.

          E.    For an award of exemplary and punitive damages and/or increased profits, in an

amount to be proven at the time of trial.

          F.    For an award of attorneys' fees and disbursements incurred by Plaintiff in this

action.

          G.    For an award of costs for this action.

          H.    For an award of other and further relief as the Court may deem equitable and

proper.

                                                         Respectfully submitted,

                                                         ROONEYP.C.
                f,
                                                         ~
Dated: August        2013

                                                 By:

                                                         Scott D. Laton
                                                         Brad M. Behar, Of Counsel
                                                         800 Third A venue
                                                         New York, NY 10022
                                                         Tel: (212) 545-8022
                                                         Fax: (646) 417-7000
                                                         Attorneys for Plaintiff
                                                         adMarketplace Inc.




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                                DEMAND FOR JURY TRIAL

           Plaintiff requests a trial by jury pursuant to Fed. R. Civ. P. 38 and the   ih Amendment
of the United States Constitution.




                                                By•~ ~
Dated: August   1_, 2013
                                                         ~ ~

                                                     Scott D. Laton
                                                     Brad M. Behar, Of Counsel
                                                     800 Third A venue
                                                     New York, NY 10022
                                                     Tel: (212) 545-8022
                                                     Fax: (646) 417-7000
                                                     Attorneys for Plaintiff
                                                     adMarketplace Inc.




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           EXHIBIT A
                                                                                                                                                                                    II

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211/13                                                  remo..el.irustool: How to Manually Delete I Remo..e Ampne!v..Qrknet Redirect Virus

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         Tuesday,August21,2012                                                                                               Blog Archive
                                                                                                                                2013 (20)
           How to Manually Delete / Remove                                                                                      2012 (146)

           Ampnetwork.net Redirect Virus                                                                                           December (29)

                                                                                                                                   No-.ember (28)
           Got hit with annoying Ampnetwork.net redirects somehow? All scans shows perfectly clean
                                                                                                                                   October (13)
           whereas the lingering browser diversion is just still there? Wondering if there is any
           effective tool to get rid of Ampnetwork.net redirect virus? This post supported by Tee                                  September (8)
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           Ampnetwork.net Description
                                                                                                                                  How to Delete I Remo-.e
           On first look, Ampnetwork .net is a plain site which promotes search syndication and                                     seekportals.com Redirect Vi ..
           encourage users to become network partners. Whereas, even careless users may have
                                                                                                                                  How to Manually Delete I Remove
           found that it's really a poorly-established sites with half-covered-up contact email. Such                               Ampnetwork .net Red ..
           Google Redirect Virus is elaborated to obtain revenue from the artificially re-routed traffic.
                                                                                                                                  How to Remove I Delete
           Generally it's bundled with freeware or shareware and slips into the system along with the                               Spyware.Zbot.cont Virus
           parastifier program installation without explicit consent.
                                                                                                                                  Infected with Win32/Conedex.D - How to
           In addition to frequent search redirect and sluggish response. some observant users may                                   Manually Re ..
           take notice of other changes such as the modified warning boxes and numerous
                                                                                                                                  How to Remove Fake Windows
           suspicious sites are added to favorites. Only a small percentage of users know that it's                                 Interactive Safety - Ma ...
           also capable of tracking online activities and forwarding them to remote servers.
                                                                                                                                  How to Remove MyBrowserBar.com
           Furthermore, if there is no timely action taken to completely remove Ampnetwork.net                                      Browser Hijacker Vi ...
           malware, the computer stability will be violated since security settings will be changed and
           more parasites will kick in.                                                                                            July (23)
           Ampnetwork.net Screenshot                                                                                               June (38)

                                                                                                                                   May (1)



                                                             AMP
                                                             NETWORK.NET                                                     About Me
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           Any Suggested Tool to Eliminate Ampnetwork.net?
           Most antivirus fails to pick up the redirect virus since such malware is orchestrated to
           bypass detection exploiting network vulnerabilities. You may have deleted all tracking
           cookies, and tried to find the malicious program from add I remove program on Control
           Panel, but the disgusting redirection is still there after system restart even when you re-
           open the browser. Manual means is confirmed to be the best approach to delete
           Ampnetwork.net. Below steps can be used as reference :


           Step I : Go to Task Manager with Alt+Ctrl+Delete and stop its process.
           random.exe
           Step 2: Search for and delete its related files in Local Disk C:

           %AllUsersProfile%Application Data-
           %AllUsersProfile%Application Data. exe

remo..el.irustool.blogspot.com'2012/08/how-to-manually.delete-remo..e.htni                                                                                                    1/2
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                          Case 1:13-cv-05635-LGS Document 1 Filed 08/13/13 Page 32 of 81
2/1/13                                             remo1,e1Arustool: How to Manually Delete I Remo\e ~netv.orknet Redirect Virus
            C\WINDOWS\System32\EasyRedirectdll
            C:\Users\Username\AppData\Local\Templrandom.exe
            C:\Windows\SysWOW64\rundll32.exe
            C:\Program Files (x86)\Lavasoft\Ad-Aware\AAWTray.exe

            Step 3: Navigate to remove the registry entries associated as below in Registry Editor:

            HKEY_CURRENT_USER\Software\MicrosoftlWindows\CurrentVersion\Run\Random Characters
            HKEY_CURRENT_USER\Software\Microsoftllnternet Explorer\Random Characters
            HKEY_LOCAL_MACHINEISOFTWARE\Wow6432Node\Microsoft\Windows\CurrentVersion\Run\
            random thing
            HKEY_LOCAL_MACHINE\Software\Microsoft\Windows\CurrentVersionllnternet Settings : "Proxy
            Enable"= l
            HKEY_LOCAL_MACHINE\Software\Microsoft\Windows\CurrentVersionllnternet Settings : "Proxy
            Override" =

            Notes: lfyou are still conft1sedwitlz above procedures, please click here to contact a
            2417 011/ine expert formore details.




----7       Posted by Sarah at 2:04 PM
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            Labels: completely remove Ampnetwork.net malware, delete Ampnetwork.net. , et rid of
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                                                                                                                            May (1)



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          Any Suggested Tool to Eliminate Ampnetwork.net?
          Most antivirus fails to pick up the redirect virus since such malware is orchestrated to                    View my complete
                                                                                                                      profile
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remo-.e\irustool .blogspot.corrv'2012/08/how-to-manually-delete-remo-.e.htm                                                                                            1/2
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                           Case 1:13-cv-05635-LGS Document 1 Filed 08/13/13 Page 34 of 81
2/28113                                           remo1.e~rustool:   How to Manually Delete I Remo1.e Ampnetoorknet Redirect Virus
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          HKEY_CURRENT_USER\Software\Microsoft\Internet Explorer\Random Characters
          HKEY_LOCAL_MACHINE\SOFTWARE\Wow6432Node\Microsoft\Windows\CurrentVersion\Run\
          random thing
          HKEY_LOCAL_MACHINE\Software\Microsoft\Windows\CurrentVersion\Internet Settings: "Proxy
          Enable"= 1
          HKEY_LOCAL_MACHINE\Software\Microsoft\Windows\CurrentVersion\Internet Settings: "Proxy
          Override" =

          Notes: lfyou are still confusedwith above procedures, please click here to co11tact a
          2417 online expert.formore details.




--7       Posted by Sarah Mock at 2 04 PM
                               +2 Recorrmend this on Google

          Labels : completely remo\€ Ampnetwork.net malware, delete Ampnetwork.net. , et rid of
          Ampnetwork.net redirect virus




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                           I
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          I Publish I I.Preview .]



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remo1.e~rustool.blogspot.com'2012/08/how-to-manually.delete-remo1.e.htrrl                                                            212
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2/28/13                                      Infected Wth Afr4:lnelv.orknet Redirect Virus? How to Remm.e Afr4:l netv.orknet - Tee Support Blog


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                                            Get Professional Help Now             ._     Live Hel p 2417
                                                                                                                            m:m:=
                                                                                                                            full name:
                                                                                                                                                     S~bscribe                   1>


     Infected With Ampnetwork.net Redirect Virus? How to Remove
     Amp network.net                                                                                                        ema il address :

     Published Decemb er 27th, 2012 by Cindy Moore
                                                                                                                                                                         - ---··
                                                                                                                                                     Submit
     Is your browser constantly redirected to Ampnetwork.net and you can't stop the annoying pop-ups after
     attempting everyth ing ? Are you frustrated by getting rid of this infection although all kinds of protection tools
     are used but still in the dark? This post will do you a favor, or you can ask Tee Support agents 24f7 on line
     for instant help.                                                                                                           fTee Support]
                                                                                                                                     Online Tech Support

     Ampnetwork.net Information
                                                                                                                                                  System Slowdown?
     Malware Type: Browser hijacker virus
                                                                                                                                                     Infected with
     Threat Risk Coefficient:   **** ·· High-level                                                                                                 Spyware, Virus or
                                                                                                                                                       Malware?
     Advice: Remove it ASAP

     Ampnetwork.net (http11ampnetwork.netl) is a malicious computer redirect virus participating in a large-                                             -   - ---

     scale search engine hijack. It affects most of famous Internet Browsers such as Internet Explorer, Mozilla                                   Get Experts Help
     Firefox, Google Chrome and others. From the primary impression , you maythink the virus has nothing
     different from the legit web pages because it has a decent interface and also contains ample contents.
     However, the fact is far from what it appears to be. There are severe issues with this search page. Firstly,             Latest Posts
     this pest infiltrates target PCs breezily without any alarm and easily bypasses Windows fi rewall & security
     software in some cases. This sort of phenomenon is triggered bya rootkitwhich is a reall y intricate cyber                  Easily Remove TR/Crypt.Xpack.Gen7 (Virus Removal

     threat. Secondly, everytime when you visit your favorite domains, the http://ampnetwork.net/ and more                       Tips)

     related URls pop up because it may replace your default homepage or reroute you from SERPs (search                          Uninstall SmartBar Toolbar - How to Remove
     engine results pages) replacing the actual link you intent to navigate-that's where the greates t problem is.               Search.creativ etoolbars.com Redirect
     Even though you make efforts to get back the homepage or reinstall your browser, only to fin d all the
     attempts turn to be in vain . You always get the traffic redirected to unwanted pages from legiti mate search               How to Disable Teno PaySafeCard V irus: Remove

     engines. Under such circumstance , all your search results will be controlled by Ampnetwork.net rather                      Tono "Computer Locked" Scam

     than your original search provider. Please beware that the designers of the redirect infection don 't just
                                                                                                                                 How to Stop 'SOSJv'essaging has stopped w orking'
     expect to disturb your browser habits , they own more dangerous goals, and to be clear, money is their
                                                                                                                                 Error
     ultimate purpose . In a word , it's of high importance to uninstall Ampnetwork.net nuisance as well as its
     associated malware campaign quickly and completelyto protect the security of infected machines and                          The Helpful Guide on How to Remove Trojan.Betabot
     users ' properties .                                                                                                        Threat Mmually and Thoroughly

                                                                                                                                 How to Get rid of JS/Redirector. JL Virus Completely
     Screenshot of Ampnetwork.net:
                                                                                                                                 and Safely by Using 11/anual Method

                                                                                                                                 Remove PUP.offerw are 11/alw are Completely,
                                                                                                                                 PUP.offerw are Keeps Popping Up?

                                                                                                                                 Hijacked/locked by LPD BMI ukash virus
                                                                                                                                 (Landespolizeidirection Bundes Mnisterium tor
                                                                                                                                 nneres)

                                                                                                                                 How to Remove Trojan:JS/Medfos.A -Virus Uninstall
                                                                                                                                 Guide

                                                                                                                                 nstant Savings App Removal nstructions-How to
                                                                                                                                 Remove nstant Savings App Adw are from Computer        ~


                                                                                                                                 How to Completely Get Rid of Backdoor.Agent.RS?


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                                                                                                                                                        Assistance on Removing Trojan Horse Agent4.ACDI
                                                                                                                                                        (Virus Removal hstruction)


                                                                A MP
                                                                NETWORK.NET
                                                                                                                                                        How to Remove Gesellschaft Zur VerfOgung Von
                                                                                                                                                        Urheberrechtsverletzungen V irus

                                                                                                                                                        How to [);sable Sftw red.com Redirect: Removal
               1me1ne-1 US\1"S t-Oefl~ MS~ 3S:. ct ~tr11n-e en Gccg~ ·~ar.oo. er Bina Sie-.et.Gh 1esunp;iges SOOf~h ~l'ld(.at1on r-::an
              ':xx:o1•.1ruty tv Put ~ur off.st n front of intiH!ilY.J us=s du mg U-.e c-:her 97% oi trsr ura crJll"ri                                   Guide
              ~ch syru:iicaucn c.ap-~uri?5 u ~r t"'lte111   from !'1..n::t00s.o11n1hons. 01 S&ro'N:S Ea:h dii.y ml00ba1'i. ssarth tm:l:?S. ·md[¥1.S
                am:: in:o:le: ai;i::1011ons                                                                                                             Failed to Uninstall Trojan.Spy.Sances.AR Threat?
                                                                                                                                                        Help Remove Trojan.Spy.Bancos.ARVirus Manually
                                                                        Trafftc S.:iuroos
                                                                                                                                                        and Co11'4lletely

                                                                                                                                                        How to Remove Stubborn Virus JS/Medics.A?

                                                                                                                                                        Guide to Remove \Mn32:ZAccess-PB [Trj] Virus
                   Type-in Dcmain              Ema11                   Mot> lie                 Toolbar                  Rolltll/Cftln-T6Xt             Manually - I-low to Get Rid of \Mn32:ZAccess-PB
                                                                                                                                                        [Trj]

                                                                                                                                                        Safely Remove Trojan horse Rootkit-Pakes .Blw oh
      Several Harmful Properties Embodied in Ampnetwork.net                                                                                             Detailed Steps

           This redirect virus will constantly redirect your internet connection and tell you that you are brows ing                                    Remove Rootkit.MBRVrabber.A Step by Step (Useful
           unsafely.                                                                                                                                    1ips for Rootkit.fvllR Vrabber.A Removal)

           Your computer is acting slowly. This web browser slows down your system significantly. This includes                                         How to Siminate http://soundfrost.org/ Redirect:
           starting up, shutting down, playing games, and surfing the we b.                                                                             Removal Help

           Searches are redirected or your homepage and desktop are settings are changed . This is an obvious
           symptom of this infection.                                                                                                                 Categories
          The cyber threat will shut down your other anti-virus and anti-spyware programs. It will also infect and                                      Adware
          corrupt your registry, leaving your computer totally unsafe.
                                                                                                                                                        Brow ser Hijackers
          You are getting pestered with lots of pop ups. The hijacker virus infects your registry and uses it to
                                                                                                                                                        Fake Alert Removal Guide
           launch annoying pop up ads out of nowhere.

                                                                                                                                                        HOSTS Files by Tee Support Labs
      Cannot Delete Ampnetwork.net by Antivirus Programs?
                                                                                                                                                        How To Guide
     The Ampnetwork.net virus , as many other viruses , is created with malicious code and is changed daily or
     more often . That's why any of the antivirus programs can't keep up to remove the virus . Wien victim users                                        hstructions To FD< Mcrosoft Office Errors
     tried with various security tools, they did not eliminate the virus , but messed up the computer more. Any
                                                                                                                                                        hternet & Netw orking Problems
     unsure method is not recommended to remove the virus, but manual removal has always been the most
     effective way to get rid of it.                                                                                                                    iTunes error


     Ampnetwork.net Step-by-Step Manual Removal Instructions                                                                                            Outlook Email Settings


     Step 1- Reset Internet Explorer by the following guide (take IE as an example):                                                                    Rlishing Emails

     Open Internet Explorer »                 Click on Tools »          Click on Internet Options » In the Internet Options window                      Porn Viruses
     click on the Connections tab» Then click on the LAN settings button» Uncheck the check box labeled
                                                                                                                                                        A'inter Setup/Maintenance Service
     "Use a proxy server for your LAN" under the Proxy Server section and press OK.
                                                                                                                                                        Ransorrm are

          Local Area Netwo1k (LAN) Settings                                                                ~                                            Remove Adw ares

            Automatic configuration
                                                                                                                                                        Rogue Anti-Spyw are Programs
            Automatic configuration may override manual settings. To ensure the
            use of manual settings, disable automatic configuration.
                                                                                                                                                        rogue virus
            0    Automatically detect settings
                                                                                                                                                        Rootkit hfections
            Duse automatic configuration script

                  Address                                                                                                                               Spam Email MatN are

                                                                                                                                                        Spyw areNirus/MatN are Removal Guide

                                                                                                                                                        Spyw areNirus/MatN are Removal Service

                                                                                                                                                        Tee Support Driver Updates/Repair Service

                                                                                                                                                        Tee Support New s

                                                                                                                                                        Tee Support PC Optimization/Repair/Maintenance
                                                                                                                                                        Service

                                                                                                                                                        Tee Support Remove Trojan Guides



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2/28/13                                              Infected Wth Ampnel'M:lrknet Redirect Virus? How to Remo\€ Amp nel'M:lrknet- Tee Support Blog
      Step 2- Disable any suspicious startup items that are made by infections from Ampnetwork.net
                                                                                                                              Tee Support l.Xlins tall Service

      For Windows Xp: Click Start menu-> click Run-> type: msconfig in the Run box-> click Ok to open the
                                                                                                                              Tool Bars
      System Configuration Utility-> Disable all possible startup items generated from Ampnetwork.net.
                                                                                                                              Trojan horses
      For Windows Vista or Windows7 : click start menu->type msconfig in the search bar-> open System
      Configuration Utility-> Disable all poss ible startup items generated from Ampnetwork.net.                              Uninstall Guides and Tools

      Step 3- Remove add-ons :                                                                                                \Mndow s Update Errors

      Internet Explorer                                                                                                       Worms

      1) Go to 'Tools '-+ 'Manage Add-ons' ;
      2) Choose ' Search Providers '-+ choose 'Bing' search engine or 'Google' search engine and make it
      default;
      3) Select 'Search Results' and click 'Remove' to remove it;
      4) Go to 'Tools ' -+ ' Internet Options', select 'General tab ' and click ' Use defau lt' button or enter your own
      website, e.g. Google.com. Click OK to save the changes .

      Google Chrome

      1) Click on 'Customize and control' Google Chrome icon, select 'Settings ';
      2) Choose ' Basic Options ' .
      3) Change Google Chrome's homepage to google.com or any other and click the 'Ma nage search
      engines .. .' button ;
      4) Select 'Google' from the list and make it your default search engine;
      5) Select 'Search Results ' from the list remove it by clicking the "X:' mark.

      Moz ilia Firefox

      1) Click on the magnifier's icon and select 'Manage Search Engines
      2) Choose 'Search Results ' from the list and click 'Remove' and OK to save changes;
      3) Go to 'Tools '__, 'Options '. Reset the startup homepage or change itto google.com under the 'General
      tab';

      Step 4- Open Windows Task Manager and close all running processes.

      (Methods to open Task Manager: Press CTRL+AL T+DEL or CTRL+SHIFT +ESC or Press the Start button-
      >click on the Run option->Type in taskmgr and press OK.)

          ----- - --                 --~~----        -      ·--~   ---   ~-   -   -   --
          Sf. Windows Task Manager                                                         ~['g][iEJ
          File     Options    View    Shut Down      Help

              Applications   I Processes IPerformance I Networking I Users I
                    Image Name           I   User Name             i CPU , Mem Usage          i ~
                 - isass.exe                 SYSTEM                  00            1,592K
                   services.exe              SYSTEM                  00            3,736 K
                   winlogon. exe             SYSTEM                  00               728 K
                   csrss.exe                 SYSTEM                  02            9, 860 K
                   svchost.exe               LOCAL SERVICE           00            4,172K
                   smss.exe                  SYSTEM                  00               452K
                   svchost. exe              NETWORK SERVICE         00            4,692 K
                   svchost.exe               SYSTEM                  00            5, 388 K
                   srvany .exe               SYSTEM                  00            1,588K
                   jqs.exe                   SYSTEM                  00            1,408 K
                   CntvCBoxService .. ,.     SYSTEM                  00            7,108K
                   svchost.exe               SYSTEM                  00           23,592 K




                                                                                                  j
                   svchost. exe              LOCAL SERVICE           00            4,052 K
                   vmware-authd.exe          SYSTEM                  01            8,508 K
                   vmnetdhcp .exe            SYSTEM                  00            2,268 K
                   alg.exe                   LOCAL SERVICE           00            3,868 K
                   System                    SYSTEM                  01               308 K
                   System Idle Process       SYSTEM                  95                28K
                                                                                                  1v l
                 D 2,how processes from all users                             I   ~nd   Process
                                                                                                     I
                    -
          Processes:. 56        I CPU Usage: 6°/:·       . .! Com-;:,.,it Charge: 1558M I 3876M ...

      Step 5- Open Control Panel from Start menu and search for Folder Options When you're in Folder Options
      wi ndow, please click on its View tab, check Show hidden files and folders and uncheck Hide protected
      operating system files (Recommended) and then press OK.




blog .teesupport.com'i nfected-v.1 th-ani:>nel'Mlrk-net-redi reel-IA rus-how-to-remo1.e-anir netv.ork-net/#more-74121                                            316
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            F~lder Options                                                                                 12]~
                Gener al View              File Types 0 flline Files

                    Folder views
                                         You can apply the view (such as Details or Tiles] that
                                         you are using for this folder to all folders.

                                           Apply to All Folders                   Reset All Falders



                  Advanced settings:
                        D   Display the contents of system folders                                         ~I
                        0   Dis play the full path in the address bar
                        D   Display the full path in the title bar
                        D   Do not cache thumbnails
                        Cll Hidden files and folders                                                        §
                              0  Do not show hidden files and folders
                              0  Show hidden files and folders
                        0   Hide extensions for known file types
                        D Hide protected operating syotem tiles \Recommended)
                        D Launch folder windows in a separate process
                        ell Managing pairs of Web pages and folders
                            0 Show and manage the pair as a single file

                                                                                         Restore Defaults


                                                        OK                J [     Cancel      J    I     Apply



      Step 6- Remove these associated Files on your hard drive such as:

            %App0ata%\Protector\"" [ rnd]
            %All Users Pro fil e%\ Programs\{ ran dom)\
            %Common StartMenu%\Programs \Users \[J\ ""



     Step 7- Open the Registry Editor and delete .the following entries:

     (Steps: Hit Win+R keys and then type regedit in Run box and click on OK)




                            Type the name of a program, folder, document, or
                            Internet resource, and Windows will open it for you.

                Qpen:         _____________v~'I
                            l~mlll


                                         ~~I-ca-n-ce-1~1 ~rowse                      [             ...




          r.:   Rcg1st ry Editor                                                                                                   ::   1
                                                                                                                                            CJ

           S ~ My COl!'QIJter                            ii 11<1~"                          Type                 Daza
             W CJ HJ:E:V_CUlSS!S_~OOT                    1,:.·. . .   (Defailt)            REG_SZ                (va\Je not set)
             Ei CJ HID_OJAA£r•f f_US91
                  D Aoi£vents                            Ii
                        CJ COl>IOI•                      I!
                        wcooool ?"'1el                   I'
                        CJ Envrooment                    "
                        O~ntities                        i!
                    :tl eJ Koyboord L~yo<J:              if
                        e    PfirtterS                   1
                                                         JI
                        [J Sessatlnform:b:ln             I
                        ~mm!DI                           I•
                        eJ Tenctot                       !:
                             UN[COOE Ptograrn G'oop!:    i
                        CJ Unlnstall                     I°
                      CJ \lolOOle Environment      ji
                    - El Windows 3. 1MJ;rrotion5'ot1:
                  E!J Hl<OY_LOCAl.J>W:HINE               i;
                 @CJ Ht:EY USERS                         1·
                 , i:;, HKEY=CURRENT_CONFIG              I!
                                                         ii
            HKCUSoftwareMicrosoftWindowsCurrent Versioninternet Settingsrandom


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2128/13                                      Infected Wth Ampnet'MJrknet Redirect Virus? How to Remo1.e Amp net'MJrknet - Tee Support Blog
            HKCUSoftwareMi crosoftWindowsCurrentVer sionPol iciesExplorerDisa llowRun
            HKCUSoftwareMicrosoft WindowsCurrentVersionRunrandom
            HKEY LOCAL MACHINESOFTWAREMicrosoftWindows NTCurrentVersionWinlog on "Shell "                         " [ran




      Step 8-Restart your computer normally to check whether there is still redirection while browsing .


     Video Direction for Manual Removal




      Note: Even though it is possible to manually remove Ampnetwork.net by yourself, such activity can
      permanently damage your system if any m istake is made in the process as advanced spyware viruses are
      able to automatically repair themselves if not completely deleted. Thus , manual spyware removal is
      recommended for skilled users only, such as IT experts or highly qualified system administrators.

     Tee Support is the #1 place to get IMMEDIATE live help for your PCs , peripherals , devices and software
      applications 24n. If you cannot solve the issue with the instructions above or need any other assistance,
      please get help from an Online Computer Expert here for help.




          Cindy Moore on                Add to circles




      Rating: 10.0/1 O (3 votes cast)
                                                    -

                                    Talk to an Online Expert Now ••·


      Posted in Browser Hijackers I No Conments »




      Leave a reply
      Name (•)



      & mail (')



      URI




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      free Sup~
          Onffne Tech Support
                                          No Fix No Pay Guarantee.                                                                                                  Search

                                           Get Professional Help Now             i.    Live H elp 2417
                                                                                                                           ~ Subscribe                                         1>
                                                                                                                           full nam ·

     How To Remove Google Redirect Virus Manually, Help To
     Eliminate Google Redirect Virus From Windows XpNista/7                                                                emallac

     Published February 18th, 2012 by Tee Support Agent Jolin


     Is your computer infected with Google Redirect Virus? This post wi ll tell you step-by-step guide on how to
     remove Google redirect virus manually and completely. If you have any problem during the removal
     process, please contact Tee Support agents 2417 on line for more detailed instructions.


     What is Google Redirect Virus?
                                                                                                                                free Support]
                                                                                                                                    Online Tech Support


     Google redirect virus is a kind of infection which can insert malcode into your windows operating system
                                                                                                                                                  System Slowdown?
     including l/vlndows Xp, l/vlndows Vista and l/vlndows 7 to hijack your web browsers and keep leading your
     Google search results to ads sites. Just image how would that upsetting and time-wasting when you
                                                                                                                                                    Infected with
                                                                                                                                                  Spyware, Virus or
     cannot visitlegit normal sites freely and are forced to browse so many useless ads pages not matter you
                                                                                                                                                      Malware?
     like it or not. Google Redirect virus is usually promoted by rookits which is one of cyber crim inal's latest
     mostfavorite tricks. Rookits are famous for their abilities to mutate fast and use random name files to
                                                                                                                                                       ----
     escape various repu table security programs ' detection . Even sometimes an anti-malware program                                             Get Experts Help
     detects rookits on your computer, the antivirus do not dare to do an automatic removal for you as rookits
     usually affect your drivers and MBR. If you use your anti-malware tool to forcibly eliminate Google redirect
     rookit infection, you will los e your internet access permanently or even suffer from computer crash forever
     unless you have enough tech skills to repair your computer system manually. To make things worse,                       Latest Posts
     Google redirect virus is usually bounded with rogue fake antivirus scanner and various Trojans and worm                    Best Way to Remove Trojan.MlRAlureon!IK
     infections . For the above reasons, your privacy and system stability will get into trouble when you have                  Corrpletely (Manual Removal Help)
     Google redirect virus on your computer.
                                                                                                                                How to Remove Trojan horse PSW.Generic10.BHKO
     The following are some ad domains to which a Google redirect virus usually tries tom is lead your
                                                                                                                                Virus: Manual lips
     browsers :
                                                                                                                                The Effective Guide on How to Get Rid of MaVEncA<-
     about:blank, 10-directory.com, 63.209.69.107, 67.29.139.153 , ?search .com , 95p.com, adorika.com ,
                                                                                                                                AFN hfection Manually and Corrpletely
     abnow.com, adorika.com, adf.ly, alive-finder.com, alltheservices.com, articlemule.org, asklots.com,
     as kthecrew.net, autocom pletepro.com , ave99.com , bOOkm arks .com, background-sleuth .net,                               Ask Toolbar Remove, How to Get Rid of Ask Toolbar

     bargainmatch.com, beoo.com, bestdiscountinsurance.com, bestsearchpage.com, bestclicksnow.com,                              Corrpletely
     bestrnarkstore.com, bestwebchoices.com , bestwebsearch.com , bidsystem.com , secure.bidvertiser.com ,
                                                                                                                                Solved: Remove Trojan:Wn32/QHosts.BF Manually
     blinkx.com, britewallet.com, budgetmatch .net, buzzclick.com, cashrewards.com , celebrity-gossip.net,
                                                                                                                                and Corrpletely
     cheapstuff.com, citysearch.com , clicksor.com (Clicksor), clkads.com, feed.clickbizz.com , comparedby.us ,
     compares tores.net, coolsearchserver.com, couponmountain.com, digitaltrends.com , easilyfindlocal.com,                     Remove Trojan horse PSW.Generic10.BHKG Before l
     everythinghere.com , evoplus .com, expandsearchanswers .com (expand search answers), fastfinder.com,                       Arouses Puzzles
     feedsmixer.org (starFeedsMixer), find-quick-results.com, FilesCup.com (FilesCup) , findexmark.com , find-
                                                                                                                                Couldn't Remove Backdoor:Wn/32RDPopen.b for
     answers-fast.com , find-fast-answers.com, finditreport.com , findology.com , finderquery.com, findstuff.com ,
                                                                                                                                Good? .Get Manual Removal Help!
     flurrysearch.com, forless.com, funclipsearch.net, gimmeanswers.org, glimpse.com , google-redirect.com ,
     googlesearchserver.net, get-search-results .com , goingonearth.com, goodsearch.com, gomeo.co.uk,                           Unable to Rmove Trojan horse Generic31.REJ via
     gossipcenter.com , gquestionnaire.com, greatsearchserver.com , greenluo.com, grooveswis h .com ,                           AVG? Delete Trojan Horse Manually Step by Step
     guide2faucets.com , happili.com, HelloLocal.com, hooot.com, hyperpromote.com, informationgetter.com,
                                                                                                                                How to Get Rid of Trojan Horse Dropper
     inruo.com , jerseyscatalog.com , juggle.com , k1 OOsearches.com , kitchenrenopages .com,
                                                                                                                                Generic7.SIF(Manual Removal Guide)
     kingtopsearch.net, kiseek.com, lawyerinsight.org, letsbuystuff.com, lexolis .com, liutilities .com,
     livejasmin.com (creative.livejasmin.com po pups), local-search-pages.com, local pages .com ,                               How to Remove lidyNetw ork V irus - To Stop
     localsearchbug .com, lowprices hopper.com, manufacturers directory.com, medias hitting.com ,                               Redirection Problem Coming from lidyNetw orkcom
     merchantsnearby.com , monstermarketplace.com, mooter.com, multifind24.com, mybestclick.net,
     mycustomsearch.cn, mydealchoices.com, mydealmatch.com, mylocalhero.com, neats ales.com,                                    Manual Guide to Remove LNKRunner-B(Trj] Virus

     neatsearchserver.com (neat search server zeroaccess rootkit), netsearchfinder.com, nets hoppers .com ,

blog .teesupport.com'?s=admar~tplace                                                                                                                                                     1/3
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1/23/13                                                                             Admarretplace I Tee Support Blog
      newsdaily7.tv, nexplore.com, njksearch .net, privacycheck.ru , Pulse36a.com, qooqle .com, qooqlle.com,
                                                                                                                                 How to Remove Trojan:Wn32/QHosts.BH (l.klinstall
      questyes .com , quick-search-results.com , quick-suggest.com , redirectsite .net, results5.google.com ,
                                                                                                                                 Guide)
      safecompare.com, saveandcoupon.com , savecom pare .com, savingwithads.com , scour.com,
      scoursearch.net, search-redirector.com , searchforall.info , searching4all.com , search-netsite.com, search-               Manually Uninstall Backdoor:Wn32/Caphaw .N

      results.com (int.search-results.com), searchbacon.com, searchdiscovered .com, searchqu.com,                                nfection in an Effective Removal Way

      searchqualitysites.com, search next.com , searchsp ice.com, s hopcom pare.net, shopcompareus .com,
                                                                                                                                 The Best Way to Remove Trojan Horse Generic
      shopfinded.com , shophornet.com , shopica.com, shopica.com /search, shopzilla.com ,
                                                                                                                                 31 . CWG-Trojan Removal hstructions
     socialsurvey2a11.info , Social Search Redirect, somesearchsystem.com , startnow.com ,
     startsearcher.com, supergreenadvice.com , supersearchserver.com , Tab Discover.com, tazinga .com                            Help Remove WormWn32/Autorun.PL tifection
     (tazinga!), theifinder.com, TheTop1 a.com , tubedownloader.com, theyellowpages .com,                                        Safely and Corr!)letely
     theyellowpagez.com , topdaodrugs .com, toseeka.com, tubedownloader.com, unblock-us .com, us-srch-
                                                                                                                                 How to Remove Trojan WnNT/Aureon.AB Virus?
     system .com, vacationsummerbay.com, valueapproved.com, vshare.toolbarhome.com (vShare), vuwl.com,
     vehiclefind24.com , webplains.net, weeklycontestwinner.org, weeklyusa-winner.com ,                                          How to Remove Trojan:Wn32/Revetonlnk Virus -
     wallstreetnews8.com, webshoppinghelper.com , webresults6.org, yellowmoxie.com, yellow ise.com ,                             Trojan:Wn32/Reveton!lnk Removal Help
     ylwbook.addresses.com , youfindmore .com , you porn.com .
                                                                                                                                 Bestsearchforever.tw Has Taken Browser! Easy
     Here are some more latest or still very active Google r edirect ads domains:                                                Steps to Remove Redirect Issue

     coolsearchserver.com , webplains.net, Bodisparking .com , Zwankysearch .com, find-fast-an swers .com,                       Easily Remove TrojanSpy:Wn32/Bhoban.E (Virus
     njksearc.net, qooqlle.com, Blendersearch.com, Thewebtimes.com , Marveloussearchsystem .com, search-                         Removal)
     netsite.com, toseeka.com , AboutBlank, La .vuwl.com , 1a-directory.com , 63.2a9 .69.1 a7, 67.29 .139.153,
                                                                                                                                 Remove Trojan Horse Downloader.Generic13.ZUH
     ?search .com, adorika.com, adf.ly, alive-finder.com, alltheservices.com, articlemule .org, asklots.com ,
                                                                                                                                 (Uninstall Trojan Manually)
     ave99.com , baakmarks.com , background-sleuth .net, bargainmatch .com, beoo.com ,
     be std iscountins urance.com, bestsearchpage.com, bestclicks now .com, bestm arks tore.com,
     bestwebchoices.com , bestwebsearch.com , bid system.com, secure.bidvertiser.com , blinkx.com ,
                                                                                                                               Categories
     britewallet.com, budgetmatch.net, buzzclick.com , celebrity-gossip.net, cheapstuff.com, citysearch.com ,
     clicksor.com (Clicksor) , clkads.com , feed .clickbizz.com , comparedby.us, comparestores.net,                              Adware

     couponmountain.com , digitaltrends.com , easilyfindlocal.com, everythinghere.com , evoplus.com,
                                                                                                                                 Browser Hijackers
     expandsearchanswers .com (expand search answers), fastfinder.com, feedsmixer.org (s tarFeedsMixer) ,
     find-quick-results.com, FilesCup.com (FilesCup), findexmark.com , find-answers-fast.com ,                                   Fake Alert Removal Guide

     finditreport.com, fin do logy.com , finderquery.com, find stuff.com, flurrysearch.com, forless.com ,
                                                                                                                                 HOSTS Files by Tee Support Labs
     gim meanswers .org, glimpse.com , google-redirect.com , googlesearchserver.net, get-search-results .com,
     goingonearth.com, goodsearch.com, gomeo.co.uk, gossipcenter.com, gquestionnaire.com ,                                       How To Guide
     greatsearchserver.com , greenluo.com , grooveswish.com , guide2faucets.com , happili.com ,
                                                                                                                                 nstructions To Foc Mcrosoft Office Errors
     HelloLocal.com , hyperpromote.com, informationgetter.com, inruo.com, jerseyscatalog .com , juggle.com,
     k1aasearches.com, YouPorn, kitchenrenopages.com, kingtopsearch.net, kiseek.com, lawyerinsight.org,                          nternet & Networking Problems
     lets buystuff.com, liutilities .com, livejasm in .com (creative.livejas min .com popups ), local-search-
                                                                                                                                 iTunes error
     pages .com, local pages .com , localsearchbug.com, lowpriceshopper.com, manufacturersdirectory.com ,
     merchants nearby.com , monstermarketplace.com , mooter.com , multifind24.com , mybestclick.net,                             Outlook Email Settings
     mycustomsearch.cn, mydealchoices.com, mydealmatch.com, mylocalhero.com, neatsales.com,
     neatsearchserver.com (neat search server ZeroAccess rootkit), netsearchfinder.com , netshoppers.com ,                       Priishing Emails

     nexplore.com, privacycheck.ru , Pulse36a.com, qooqle.com, questyes.com , quick-search-res ults.com,
                                                                                                                                 Porn Viruses
     quick-suggest.com , redirectsite.net, resultsS.google.com, safecom pare.com , saveandcoupon.com,
     Storeordersonline.com, savecompare.com, savingwithads .com , scour.com , scoursearch.net, search-                           Printer Setup/Maintenance Service

     red irector.com , searchforall.info, search ing4all.com , search-results .com (int.search-results .com),
                                                                                                                                 Ransom.v are
     search bacon.com , searchdiscovered .com , Search .babylon.com, searchqu.com, searchqualitys ites .com ,
     searchnext.com, searchs pice .com, shopcom pare .net, shopcompareus.com, shopfinded .com,                                   Remove Aoo ares
     shopica.com , shopica .com/search , shopzilla.com , socialsurvey2a11.info, Social Search Redirect,
                                                                                                                                 Rogue Anti-Spyw are Programs
     somesearchsystem.com, startnow.com, startsearcher.com, supersearchserver.com, Tab Discover.com,
     tazinga.com (tazinga !), theifinder.com, TheTop1 a.com, tubedownloader.com , theyellowpages .com ,                         rogue virus
     theyellowpagez.com, topdaodrugs.com, tubedownloader.com, Therelatedsearch.com, unblock-us.com,
                                                                                                                                 Rootkit nfections
     us-srch-system .com , valueapproved.com , vshare.toolbarhome.com (vShare), vehiclefind24 .com ,
     Worlds life.com , weeklycontestwinner.org , weeklyus a-winner.com, webshoppinghelper.com ,                                  Spam Email Malw are
     webresults6.org, Wickedsearchsystem .com , whatcarefreefeelslike.com, yellowmoxie.com , yellowise.com,
     ylwbook.addresses.com , youfindmore.com. Zinkwink.com                                                                       Spyw areNirus/Malw are Removal Guide


                                                                                                                (more .. . )     Spyw areNirus/Malw are Removal Service

                                                                                                                                Tee Support Driver Updates/Repair Service


                                                                                                                                Tee Supper! News
     Rating : 1a.a/1 O (2 l.':ltes cast)
                                                  --                                                                            Tee Support PC Optimization/Repair/Maintenance

                                       Talk to an Online Expert Now ···                                                          Service

                                                                                                                                Tee Suppcrt Remove Trojan Guides

     Tags: Browser Hijacker removal tutorials, how to delete Google Redirect virus, remove Browser Hijacker step by step
                                                                                                                                Tee Support l.klinstall Service
     Posted in Browser Hijackers 11 Corrment »


blog .teesupport.coni/?s=admarretplace                                                                                                                                              2/3
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1/23/13                                                                    Admarletplace I Tee Support Blog

                                                                                                                               Tool Bars

                                                                                                                               Trojan horses

                                                                                                                               Uninstall Guides and Tcols

                                                                                                                               \Mndow s Update Errors

                                                                                                                               Worms




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The February 18, 2012 Ad as printed out on August 9, 2013.
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8/9/13                How To Remo1.e Google Redirect Virus Manually, Help To Elirrinate Google Redirect Virus From WndOIJl.S Xp/Vista/7 - Tee Support Blog


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                                            No Fix No Pay Guarantee.                                                          c------1                                   Search

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                                                                                                                              ~ Subscribe
                                                                                                                              f ull nam ·

      How To Remove Google Redirect Virus Manually, Help To
      Eliminate Google Redirect Virus From Windows XpNista/7                                                                  emailac

      Published February 18th, 2012 by Tee Support Agent Jolin


      Is your computer infected with Google Redirect Virus? This post will tell you step-by-step guide on how to
      remove Google redirect virus manually and completely. If you have any problem during the removal
      process, please contact Tee Support agents 24g on line for more detailed instructions .


      What is Google Redirect Virus?
                                                                                                                                   free Support]
                                                                                                                                       Online Tech Support


      Google redirect virus is a kind of infection which can insert malcode into your windows operating system
                                                                                                                                                      System Slowdown?
      including Windows Xp, Windows Vista and Windows 7 to hijack your web browsers and keep leading your
      Google search results to ads sites . Just image how would that upsetting and time-wasting when you
                                                                                                                                                        Infected with
                                                                                                                                                      Spyware, Virus or
      cannot visit legit normal sites freely and are forced to browse so many useless ads pages not matter you
                                                                                                                                                          Malware?
      like it or not. Google Redirect virus is usually promoted by rookits which is one of cyber criminal's latest
      most favorite tricks. Rookits are famous for their abilities to mutate fast and use random name files to
                                                                                                                                                             -- - - -
      escape various reputable security programs ' detection. Even sometimes an anti-malware program                                                  Get Experts Help
      detects rookits on your computer, the antivirus do not dare to do an automatic removal for you as rookits
      usually affect your drivers and MBR. If you use your anti-malware tool to forcibly eliminate Google redirect
      rookit infection , you will lose your internet access permanently or even suffer from computer crash forever
      unless you have enough tech skills to repair your computer system manually. To make things worse ,                        Latest Posts
      Google redirect virus is usually bounded with rogue fake antivirus scanner and various Trojans and worm                      How to Rerrove NSA hternet Surveillance Program
      infections. For the above reasons , your privacy and system stability will get into trouble when you have                    Virus (Unlock Wndow s)
      Google redirect virus on your computer.
                                                                                                                                   How to DealV\Mh PIJP.Optional.Condurr.A?(Manual
      The following are some ad domains to which a Google redirect virus usually tries to mislead your                             Rerroval hstructions)
      browsers :
                                                                                                                                   How to Rerrove TR/Dldr.Esrrgun.A?-Manually
      about:blank, 10-directory.com , 63.209.69.107, 67.29.139.153, 7search.com , 95p.com , adorika.com ,
                                                                                                                                   Rerroval hstructions for Trojan Horses
      abnow.com , adorika.com, adf.ly, alive-finder.com , alltheservices.com , articlemule.org , asklots.com ,
      askthecrew.net, autocompletepro.com, ave99.com, bOOkmarks.com , background-sleuth.net,                                       Rerrove nfostealer.Opsiness Trojan Virus (Step-by-
      bargainmatch.com , beoo.com , bestdiscountinsurance .com , bestsearchpage.com , bestclicksnow.com ,                          Step Rerroval hstructions)
      bestrnarkstore.com, bestwebchoices.com, bestwebsearch.com, bidsystem .com, secure.bidvertiser.com,
                                                                                                                                   Stop Saveshare Ad and Rerrove Aware.Saveshare
      blinkx.com, britewallet.com, budgetmatch .net, bu=lick.com, cashrewards.com , celebrity-gossip.net,
      cheapstuff.com, citysearch.corn , clicksor.com (Clicksor), clkads.corn, feed.clickbizz.com , comparedby.us,                  Brow serPJus2 Toolbar and Brow serf'Ius2
      comparestores.net, coolsearchserver.com , couponmountain.com , digitaltrends.com , easilyfindlocal.com,                      Customized Web Search - How to Rerrove/Uninstall
      everythinghere .corn , evoplus.com, expandsearchanswers .com (expand search answers), fastfinder.com,
                                                                                                                                   Guide of Nav-links virus Rerroval
      feedsmixer.org (starFeedsMixer) , find-quick-results.com, FilesCup.com (FilesCup), findexmark.com, find-
      answers-fast.corn , find-fast-answers.com , finditreport.com , findology.com , finderquery.com , findstuff.com ,             How to Rerrove TR/Virtool.DeWhject.306 &
      flurrysearch.com, forless.com, funclipsearch.net, gimmeanswers.org, glimpse.com, google-redirect.com,                        TR/Neop.A.228 From My Col'l'j)uter
      googlesearchserver.net, get-search-results .com , goingonearth .com , good search .com, gomeo.co .uk,
                                                                                                                                   Learn to Rerrove Backdoor.Nineblog Step by Step
      gossipcenter.com , gquestionnaire.com, greatsearchserver.com, greenluo.com, grooves wish .com ,
                                                                                                                                   (Virus Rerroval)
      guide2faucets .com, happili.com, HelloLocal.com , hooot.com , hyperpromote.com , informationgetter.com ,
      inruo.com, jerseyscatalog.com, juggle.com, k1 OOsearches.com , kitchenrenopages.com,                                         Manual Guide to Rerrove TROJ_RODECAP.SM Step-
      kingtopsearch.net, kiseek.com , lawyerinsight.org, letsbuystuff.com , lexolis.com, liutilities.corn ,                        by-step
      livejasmin.com (creative.livejasmin.com popups), local-search-pages .com , localpages.corn ,
      localsearchbug .com, lowprices hopper.corn, manufacturersdirectory.com , mediashifting .com,                                 The MJst Effective way to Rerrove RadioRage

      merchantsnearby.com , rnonstermarketplace.com , mooter.com , multifind24.com , mybestclick.net,                              Toolbar(Manual Rerroval)

      mycustomsearch.cn, mydealchoices.com , mydealmatch.com, mylocalhero.com , neatsales.com ,
                                                                                                                                   Rerrove Meldestelle Cybercrirne und
      neatsearchserver.com (neat search server zeroaccess rootkit), netsearchfinder.com, nets hoppers.com ,

blog .teesupport.comihow-to-remo1.e-g oog le-redi rect-\1 rus-manual Jy-hel p-to-el imi nate-g oog le-redi rect-\1 rus- fr om-w ndow.;-xp\1sta7/#mJre-47087                                1/5
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8/9/13               How To Rerm1.e Google Redirect Virus Manually, Help To Elininate Google Redirect Virus FromV\llndoYl.S Xp/Vista/7 - Tee Support Blog
      newsdaily7.tv, nexplore.com, njksearch.net, privacycheck.ru, Pulse360.com, qooqle.com, qooqlle.com,                         Kinderpornografie Ransom Virus-Manual Removal
      questyes.com, quick-search-results .com , quick-suggest.com, redirects ite.net, results5.google.com,                        hs tructions
      safecompare.com, saveandcoupon.com , savecompare.com, savingwithads.com •.scour.com,
                                                                                                                                  UninstalV Remove/ Get Rid of Ultimate-search.net
      scoursearch.net, search-redirector.com , searchforall.info , searching4all.com , search-netsite.com, search-
                                                                                                                                  (http://ultimate-search.neU) - Restore Start up Page
      results .com (int.search-results.com), searchbacon.com, searchdiscovered.com, searchqu .com ,
      searchqualitysites.com, searchnext.com , searchspice .com, shopcompare .net, shopcompareus.com ,                            Fix M{datasrv.com Redirect Problem - How to
      shopfinded .com, shophomet.com, shopica.com . shopica.com/search, shopzilla.com,                                            Remove M{datasrv.com Ad:w are
      socialsurvey2011.info, Social Search Redirect, somesearchsystem.com. startnow.com,
                                                                                                                                  Remove vq06 Virus (http://vqo6.corrl Redirect
      startsearcher.com. supergreenadvice.com , supersearchserver.com , TabDiscover.com. tazinga.com
                                                                                                                                  Uninstall Guide)
      (tazinga!), theifinder.com, TheTop1 O.com, tubedownloader.com, theyellowpages.com,
      theyellowpagez.com , topdaodrugs .com , toseeka.com , tubedownloader.com , unblock-us .com . us-srch-                       Remove 'Recorrmended for You' ad:w are From Your
      system.com, vacationsummerbay.com, valueapproved.com , vshare.toolbarhome.com {vShare). vuwl.com,                           Computer(Annoying Popup)
      veh iclefind24.com , web plains .net, weeklycontestwinner.org , weeklyusa-winner.com,
      wallstreetnews8 .com , webshoppinghelper.com , webresults6 .org , yellowmoxie.com, yellowise.com,                           The Best f>lethod of Removing Trojan

      ylwbook.addresses.com , youfindmore.com, you porn .com .                                                                    Dropper:MSIJLivate.A Permanently


      Here are some more latest or still very active Google redirect ads domains:                                                 Easy hstructions for Removing PUP.Priv~ize-Manually '
                                                                                                                                  Remove    PUP. Priv~ize
      coolsearchserver.com , webplains.net, Bod is parking.com , Zwankysearch.com. find-fast-an swers .com.
      njksearc.net, qooqlle.com. Blendersearch.com , Thewebtimes.com, Marveloussearchsystem .com , search-                        How to Delete Freemake Video Downloader Toolbar?
      netsite.com , toseeka.com , AboutBlank, La .vuwl.com , 10-directory.com, 63.209.69 .107, 67.29.139 .153 ,                   -Manually Remove Freemake Video Dow nloader
      ?search.com, adorika.com, adf.ly, alive-finder.com, alltheservices.com, articlemule.org, asklots.com ,                      Toolbar
      ave99.com , bOOkmarks.com , background-sleuth.net, bargainmatch.com , beoo.com ,
                                                                                                                                  Remove Backdoor.Vidgrab Virus (Manual Removal
      be std iscountins urance.com, bestsearch page.com, bestclicks now.com, bestrn arks tore.com,
                                                                                                                                  Tips)
      bestwebchoices .com, bestwebsearch.com , bidsystem .com, secure.bidvertiser.com , blinkx.com ,
      britewallet.com , budgetrnatch.net, buzzclick.com, celebrity-gossip.net. cheapstuff.com, citysearch.com,
      clicksor.com (Clicksor). clkads.com , feed.clickbizz.com, comparedby.us, comparestores .net,                             Categories
      couponmountain .com , digitaltrends.com , easilyfindlocal.com . everythinghere.com , evoplus .com.
                                                                                                                                  Adware
      expandsearchanswers .com (expand search answers), fastfinder.com, feedsmixer.org (starFeedsMixer).
      find-quick-results.com, FilesCup.com (FilesCup). findexmark.com, find-answers-fast.com ,                                    Backdoor Trojan Horse
      finditreport.com, findology.com, finderquery.com, findstuff.com, flurrysearch.com, forless .com,
                                                                                                                                  Brow ser Hijackers
      gim meanswers .org, glimpse.com , google-red ire ct.com . googlesearchserver.net, get-search-results .com .
      goingonearth.com, good search.com. gomeo.co.uk, gossipcenter.com. gquestionnaire.com,                                       Fake Alert Removal Guide
      greatsearchserver.com. greenluo.com, grooveswish.com , gu ide2faucets .com, happ ili.com,
      Hello Local.com, hyperpromote.com, informationgetter.com, inruo.com, jerseys catalog.com , juggle.com,                      HOSTS Fries by Tee Support Labs

      k100searches.com, YouPorn, kitchenrenopages.com , kingtopsearch.net. kiseek.com , lawyerinsight.org ,
                                                                                                                                  How To Guide
      letsbuystuff.com , liutilities.com , livejasmin .com (creative.livejasmin .com popups), local-search-
      pages .com, localpages.com. localsearchbug.com, lowpriceshopper.com , manufacturers directory.com,                          hstructions To Fix Mcrosoft Office Errors

      merchantsnearby.com , monstermarketplace.com , mooter.com , multifind24.com , mybestclick.net.
                                                                                                                                  hternet & Netw orking Problems
      mycustomsearch.cn, mydealchoices.com, mydealmatch.com, mylocalhero.com, neatsales.com,
      neatsearchserver.com (neat search server ZeroAccess rootkit). netsearchfinder.com , nets hoppers.com .                      iTunes error
      nexplore.com, privacycheck.ru, Pulse360.com, qooqle.com , questyes.com, quick-search-res ults.com,
                                                                                                                                  Outlook Email Settings
      quick-suggest.com , redi rectsite.net, results5.google.com , safecompare.com, saveandcoupon.com,
      Storeordersonline.com . savecompare.com, savingwithads.com , scour.com , scoursearch .net, search-                          Phishing Emails
      redirector.com, searchforall.info, searching4all.com , se.a rch-results.com (int.search-res ults.com ),
                                                                                                                                  Porn Viruses
      search bacon.com , searchdiscovered.com . Search .babylon .com . searchqu.com , searchqualitysites.com ,
      searchnext.com, searchspice.com, shopcompare.net, shopcompareus.com , shopfinded.com,                                       Printer Setup/Maintenance Service
      shopica.com , shopica.com /search, shopzilla.com , socialsurvey2011.info , Social Search Redirect,
                                                                                                                                  RansomNare
      somesearchsystem .com, startnow.com, startsearcher.com. supersearchserver.com , TabDiscover.com,
      tazinga.com (tazinga!). theifinder.com. TheTop1 O.com. tu bed own loader.com. theyellowpages.com.                           Remove Ad:w ares
      theyellowpagez.com , topdaodrugs .com, tubedownloader.com, Therelatedsearch.com , unblock-us .com ,
      us-srch-system.com, valueapproved .com , vshare.toolbarhome.com (vShare), vehiclefind24 .com ,                              Rogue Anti-Spyw are Programs

      Worlds life.com, weeklycontestwinner.org, weeklyusa-winner.com , webshoppinghelper.com ,
                                                                                                                                  Rogue Program
      webresults6.org , V\llckedsearchsystem.com, whatcarefreefeelslike.com, yellowmoxie.com , yellowise.com ,
      ylwbook.addresses .com . youfindmore.com. Zinkwink.com                                                                      rogue virus

                                                                                                                                  Root~   hfections
      Wh¥ my antivirus d_id       not remove Google Redirect Virus _completely?
                                                                                                                                  Spam Email Malw are
      Although all kinds of security applications have significantly improved the detection of new viruses and
      back door infections, the file names and file locations used by Google redirect virus continually changes                   Spyw areNirus/Malw are Removal Guide
      as Google redirect virus tries to avoid detection and adds difficulty to your antivirus software to remove it
      completely.                                                                                                                 Spyw areNirus/Malw are Removal Service

                                                                                                                                  Tee Support Driver Updates/Repair Service
      Goog_le redirect virus manual removal instructions steps:
                                                                                                                                  Tee Support News
      You can remove Google redirect virus manually if you know everything about how to kill processes on your
      Task Manager, eliminate registry entries of the virus only and find out well-hidden files and fo lders of                   Tee Support PC Optimization/Repair/Maintenance


blog .teesupport.com/how-to-rerm1.e-g oog le-redi rect-1.1 rus-rnanual ly. help- to-el ini nate-g oog le-redi rect-1.1 rus-from-IM ndOYl.S->q:Jl.1sta7/#more-47087                        215
                                                                                                                                                                      II

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819/13                How To Rem01.e Google Redirect Virus Manually, Help To Eliminate Google Redirect Virus From l/v'indows XpMsta/7 - Tee Support Blog
      Google redirect virus.                                                                                                  Service


      Technical details for how to remove Google redirect virus manually:                                                    Tee Support Remove Trojan Guides

      1) Boot your computer into Safe Mode IMth Networking.                                                                  Tee Support U1install Service

      To perform this procedure, please restart your computer.-> As your computer restarts but before IMndows                Tool Bars
      launches , tap "FS" key constantly.-> Use the arrow keys to highlight the "Safe Mode with Networking"
                                                                                                                             Trojan horses
      option and then press ENTER . -> If you don't get the Safe Mode with Networking option , please restart the
      computer again and keep tapping "FS" key immediately.                                                                   Uninstall Guides and Tools

      2) Open your Registry Ed itor and mainly focus on some directories like keys which are pointto computer                 \Mndow s Update Errors
      startup and see whether there are malicious or modified entries. As we have mentioned on the
                                                                                                                             Worms
      description , the Google redirect which uses rookit technology can use random name files and entries to
      attack your computer so you need to have experience and be patient to figure out those things which are in
      wrong places or are strangers on your computer. Repairing those damaged keys and deletin g those
      unwelcome strangers on your computer finally.

      3) Check your hosts file for malicious entries. Hosts file resides on
      C:\1Mndows \System32\Driversletc\hosts. You have to go to that location and figure out which drivers are
      infected. Now you need to backup your infected drivers and then repair or replace the drivers according to
      your concrete conditions.

      4) Check your DNS (Domain Name Server) settings. If a malicious proxy settings are added there, you
      need to manually stop the proxy.

      5) Clear up your web browser records , unwanted tool bar add-ons and unknown cookies on your Internet
      explorer and Mozilla Firefox browsers .


      User: I don't have much manual virus removal experience and I am afraid to crash
      my computer by mistake. I have tried every reputable AV scanner but I still can't
      remove the pesky Google redirect virus, what now? Am I hopeless since Google
      redirect virus is too stubborn and I cannot fix it on my own?

      Even you are over 70-years-old or it is in the cool dark night, you can get rid of the annoying Google redirect
      virus immediately to save back your PC in time because the following method is very easy to operate.
      Wow!!!


                           Support over
                           the internet



           We. O)tine.d and
           soive- the protllem
                                  I
                                  J
           wtifle you watch. _


      Tee Support (Home page: www.teesupport.com ) is a legit on line PC repa ir company with N o Fix No Pay
      Virus Removal Guarantee! If you have any PC problem , just click to cha t with 24f7 online computer
      experts.

      Then we will walk you through so that we can connect to your computer remotely via the world leading
      remote software Team Viewer (http://www.teamviewer.com/en/index.aspx). And then you only need to sit by
      and watch your problems being solved safely and completely step by step according to your concrete
      conditions!




      Rating: 10.0/1 O (2 'Kiles cast)

                         -~~~~~~~~~                        -
                                                                           Malwarebytes Anti-Malware
           Talk to an Online Expert Now •••
                                                                          Download I Review

      Tee Support
      Services I Review
                                                                          il..llf"'t'•
                                                                                ...   ···               ~asm·
                                                                           Malwarebytes is one of the most popular and
      Tee Support is an award-Vlinning online tech service 2417. Tee      Vlide/y used anti-virus and ma/ware-removal

blog .teesupport. com'how-to-rem01.e-g oog le-redi rect-\1 rus-manual ly-hel p-to-el ini nate-g oog ie-redi rect-\1 rus-fr om-vvi ndows-xp\1sta7/#more-47087    315
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8/9/13                 How To Remo1.e Google Redirect Virus Manually, Help To Eliminate Google Redirect Virus FromWndow.; Xp/Vista/7 - Tee Support Blog
      Support experts provide sophisticated manual solutions:                    software applications for both home and
                                                                                 corporate computer users alike.
      • tem"inate latest, stubborn viruslspyware that an antivirus program

      can not!                                                                   Spyware Doctor
      • specific solution for your specific system Safe, Effective, Corrplete.
                                                                                 Download I Revi ew
      • rmny rrore services covering van·ous PC prob/errs to   ~et   your

      requirerrents.


      A good spyw are rermv er can safeguard your computer at real-tirre
      automatically. So, pick up one of your favorite to protect your            Award-v.inning Spyware Doctor v.ith
      system easily.                                                             Anti Virus software protects your PC against
                                                                                 privacy and tracking threats. Spyware Doctor
      How ever, professional online technical support is highly
                                                                                 v.ith Anti Virus detects, removes and secures
      recomrrended rr you want a rmre specrric, accurate and effective
                                                                                 your PC from potential spyware, viruses,
      solution toward your specrric issue in your specrric computer
                                                                                 oorms and tracking threats.
      system

                                                                                 SpyHunter

                                                                                 Download I Review




                                                                                 SpyHunter is a pov.erful, real-hme anti-
                                                                                 spyware application designed to as sist
                                                                                 computer users in protecting their PC from
                                                                                 trojans, rootkits and others.




      Tags: Browser Hijacker rermval tutorials , how to delete Google Redirect virus , rermve Browser Hijacker step by step
      Posted in Browser Hijackers I 5 Comrrents »



      5 Responses for "How To Remove Google Redirect Virus Manually, Help To Eliminate Google Redirect Virus
      From Windows XpNista/7"


      Haiksifhnv November 11th, 2012 at 7:06 am
      IT is Good and helpful .thanks


      Rating : 3.0/5 (2 votes cast)


      .Com July 5th, 20 13 at4 :1 5 pm
      Hello to all , because I am actually keen of reading
      this website's post to be updated daily. It carries pleasant stuff.


      Rating : 0.0/5 (0 votes cast)


      teichpumpen July 6th , 2013 at4 :44 am
      'Mlat's up , I wish for to subscribe forth is web site to take newest updates, so where can i do it please help out.


      Rating : 0.0/5 (0 votes cast)


      Anonymous July 7th , 2013 at 7:52 am
      Hello , I want to subscribe forth is website to get newest updates ,
      thus where can i do it please help.


      Rating: 0.0/5 (0 votes cast)


      Fredrick July 8th , 2013 at 4:1 3 am
      Excellent blog right here! Also your web site quite a bit up fast!
      'Mlat host are you the use of? Can I am getting your associate link in your host?
      I want my site loaded up as fast as yours lol


      Rating: 0.0/5 (0 votes cast)




      Leave a reply
blog .teesupport. com'how-to-remo1.e-g oog le-redi reel-IA rus-manual ly-hel p-to-el ini nate-g oog Ie-redi rect-IA rus-from-w ndow;-xplA sta7t#mJre-47087   415
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819/13               How To Remo1.e Google Redirect Virus Manually, Help To Elirrinate Google Redirect Virus From Wndow.s Xp/Vista/7- Tee Support Blog




      E-mail(•)



      URI




         Submit Comment



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blog .tees upport. comlhow-to-remo1.e-g oog le-redi rect-1.1 rus-manually-hel p- to-el irri nate-g oog le-redi rect-1.1 rus-from-IM ndow.s-J<pl.1sta7/#more-47087   515
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         EXHIBIT C2
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                        February 19, 2013.
                                                                                                                  I II

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2/19/13                                             V.ew-source:blog .teesupport.com'?s=admarketplace
      1 l <!DOCTYPE h t ml PUBLIC "-//W3C//DTD XHTML 1.0 Strict// EN"
        j "http://www.w3.org/TR/xhtrnll/DTD/xhtrnll-strict.dtd">
      2        j
      3 ! <htrnl xmlns = "http://www.w3.org/1999/xhtml">
      4!
              I
      s l <head>
      sl
      11             <link rel = "author"
       j href =" https://plus.google.com/u/0/110603677404868204955/posts/"/>
      Bi
      91         <meta http-equiv= "Content-Type" content="text/html; charset =utf-8" />
     10 !

     11   I          )   <t itle>Adma r ketp l ace I Tee Support Blog</title>
     12 1
     13 I
        I
     14 I                <s cript src = "/wp-rnint/?js" type="text/javascript"></s c r i p t >
     15 iI
     16 1                <link rel = "alternate " type =" application/rss+xml" title =" Tee Support Blog
          I        RSS Feed" href = "http://blog.teesupport.com/feed/" />
    11    I
    18 1                 <l ink rel = "pingback" href="http://b l og.teesupport.com/xmlrpc.php" />
    19 I
    ~I                   <link type = "text/css " href="http://blog.teesupport.com/wp-
          II content/themes/ts-blog/style.css" rel = "stylesheet"/>
    21    I
    ~1                   <l i nk type = "text/css " href = "http:// b log.teesupport.com/wp-
       i content/themes/ts-blog/typo.css" rel = "stylesheet " />
          I
    23 I
    24    IJ
                         <! -- [if IE 6)>
    25
    ~I                      <link type="text/css" href = "http://blog.teesupport.com/wp-
       I content/themes/ts - blog/ie6.css"         rel = "stylesheet"/>
    21 I

    281        <! [endif)-->
    29    I
          j
    30    I              <!- - [if IE 7)>
     l
    31
    ~!                      <link type = "text/css" href="http://blog.teesupport.com/wp -
          I content/themes/ts - blog/ie7.css"        rel="stylesheet"/>
    33 1
    34 !                 <! [endif) -- >
    35 1
    ~ ·           <link rel =" alternate" type = "application/rss+xml" title = "Tee Support Blog
          j &raquo;  Search Results for &#8220;adrnarketplace&#8221; Feed"
          href = "http://blog.teesupport.com/search/admarketplace/feed/rss2/" />
          l
    37 I <link rel = 'stylesheet' id= 'gdsr - style - rnain-css'
        j href = 'http://blog.teesupport.com/wp-conte n t/pluqins/gd-star-
       l rating/css/gdsr.css.php?
        j t=l350000954&amp;s=al0il0m20k2 0 c05r05 %23121620243046%23121620243240%23slpchristma
        j s %23slpcrysta l %23slpdarkness%23slpoxygen%23slgoxygen gif%23slpplain%23slppumpkin%
       iI 23slpsoft %23slpstarrating %23s l pstarscape %2 3tlpclassical %23tlpstarrating%23tlgstar
       I rating gif%23lsgflower&amp;o=off&#038;ver= l .9.18' type = 'text/css' med i a = 'all ' />
          I
    3B l <link rel = 'stylesheet' id= 'gdsr style xtra-css'
       i hre f= 'http://blog.teesupport.co;/wp-c;ntent/gd-star-rating/css/rating.css?
       l ver=l.9.18' type = 'text/css' rnedia='all' />
    39 , <scr i pt type = 'text/javascript' src = 'http://blog.teesupport.com/wp-
         includes/js/jguery/jguery.js?ver=l.4.2 ' ></scr i pt>
V.ew-source:blog .teesupport.com'?s=admarketplace                                                          1/24
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                         Case 1:13-cv-05635-LGS Document 1 Filed 08/13/13 Page 56 of 81
2/19/13                                                 ~ew-sour ce: blog .teesupport.com'?s=admarl<etplace

    40 <script type='text/javascript' src =' http://blog . t eesupport.com/wp -
         content/plugins/gd-s tar - r a ting/js/gdsr.js?ver=l.9. 18'></script>
    41 <link rel = "EditU RI" type ="applica t ion/rs d+xml " title = "RSD "
         href="http://blog.teesupport.com/xmlrpc.php?rsd" />
    42 <link rel="wlwmanifest" typ e = "app lication/wlwmanife st+xml"
       l href = " http://blog.teesupport.com/wp-includes/wlwmanifest.xml " />
    43 , <link rel = ' index' tit le = 'Tee Support Blog' href = 'h ttp://blog.teesupport.c om/ ' />
    44
    45 <! - -All in One SEO Pack 1.6.10 by Michael Torbert of Semper Fi Web
         Design[336,406] -->
    46 <!- - /all in one seo pack -- >
    ~ ,· <script type = "text/ j avascript">
    48 //< ! [CDATA[
    G j var gds r _cnst_nonce = " 2e4b3c5eac ";
    50 l var gds r_cnst_ ajax = " ht t p : //blog . teesupport . com/wp - content/plugi ns/gd - sta r-
       1 rating/a j ax . php ";

    51 var gdsr cnst_ b u tton = 1 ;
    52 var gdsr cnst cache = 0 ;
    53 I I l l >
    54 </scr i pt >
    ~ <! - - [i f IE]><style type="text/css">.ratemulti .starsbar .gdcurrent { - ms -
         filter: "progid:DXImageTransform . Microsoft.Alpha (Opacity=70) "; filter:
         alpha(opacity=70); }</ st yl e> <! [endif] - - >
    56
    57
    58
    ~                  <scr i pt language = " JavaScript " type = "text /JavaScr ip t "
              sr c =" http://www.teesupport.com/livehelp/include/javascript.php "></script>
    60
    61 1              <script language = "javascr ipt " >
    62
    63 /* funct i on openLiveHelp()
    64 .
    65    var url ;
    66
    ITT I url =" https : //server . iad . liveperson . net/hc/6586 1 323/?
         cmd=f i l e&file=v i si t orWantsToChat&site=65861323&byhref= l";
    68
    69              var iWidth=600 ;
    70

    71    I               va r iHe i ght = 400 ;

    72 1
                          var iTop = (wi ndow . sc r een . height -i Height)/2 ;

    ;; I                  va r i Lef t =(w i ndow.screen . wi dth - iWidth)/2 ;

    ~~ I      //window.open(url ,"Li ve Online
          ! Chat "," scro l lbars =no , too l ba r =no , locat i on =no , direc t ion=no ,re sizeab l e =no , wi dth="+i W
            idth+ " , height= " +i He i ght +", top= " +iTop +", left= " +iLeft) ;
    78
    79    I      window . open( ' h tt ps : //serv e r .i ad . l i veperson . net/hc/65861323/?
              cmd=f ile &f i le=visitorWantsToChat&s i te=65861323&byhref=l ', null , ' he i ght=400 , widt h = 6
              00 , stat u s =yes , too l b a r =no , menubar=no , location =no , top= ' +iT op +', left= ' +iLef t ) ;
    80
    81          // i f   (LiveHelpWindow)             { LiveHelpWindow . opener = self ;
    82

~ew-source: blog .teesupport.com'?s= admarl<etplace                                                                     2124
                                                                       I II
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                          August 9, 2013.
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819/13          -Aew-source:bl og .teesupport.com'how-to-remoi.e-g oog le-redi rect--A rus-manual ly-hel p-to-el irri nate-g oog Ie-redi rect--A rus-from-v.1 ndow.>-Jq:J-A sta7l#more-47087
         1 <!DOCTYPE html PUBLIC "-//W3C//DTD XHTML 1.0 Str i ct//EN"
           "http://www.w3.org/TR/xhtmll/DTD / x htm ll- str i ct.dtd">

      : 1<html xmlns = "http://www.w3.org/1999/xhtml">
      41
       5        <head>
      6
      71             <link rel ="a uthor "
       ! href =" https://plus.google.com/u/0/110603677404868204955/posts/ " />
      81
      91                    <meta http-equiv=" Content-Type " content= "te xt/html; charset =utf - 8 " />
     10    I
     11 !             <t itle>H ow To Remove Goog l e Redirect Virus Manually, Help To Eliminate
                Google Redirect Virus Fr om Windows Xp/Vista/7 - Te e Support Blog</title>
     12    II
     13    I


     14                     <s c ript src =" /wc - mint/?js" type =" text/javascript"></script>
     15
     16               <l ink rel =" alternate" type= " application/rss+xml " title= " Tee Support Blog
                RSS Feed" href =" http://blog.teesupport.com/feed/ " />
     17
     18 1
           I                <l ink rel =" pingback " href =" http://blog.teesupport.com/xmlrpc.php " />
     19    I
     ~I               <l ink type = "text/css" href =" http://blog.teesupport.com/wp-
           1    content/themes/ts-blog/style.css" rel =" stylesheet " />
     21
           1
     ~I               <link type =" text/css " hr e f =" http://b l og.teesupport.com/wp-
                content/themes/ts-blog/typo.css " rel =" stylesheet " />
     23
     24                     <! -- [if IE 6]>
     25
     ~                             <link type="text/css" href="http://blog.teesupport.com/wp-
           I content/themes/ts - blog/ie6.css"            rel="stylesheet " />
     27 j
     2s l                   <![endif]-->
     29
     30                     <! -- [if IE 7]>
     31
     ~I                  <link type = "text/css" href =" http://blog.teesupport .com/wp -
                content/themes/ts-blog/ie7.css" rel="stylesheet"/>
     33
     34
           I                <! [endif] -- >
     35
     ~            <link rel =" alternate" type =" application/rss+xml" title =" Tee Support Blog
          &raquo; How To Remove Google Redirect Virus Manually, Help To Eliminate Google
          Redirect Virus From Windows Xp/Vista/7 Comments Feed "
          hre f=" http://blog.teesupport.com/how-to-remove-goog l e-redirect-virus-manually-
          help-to-eliminate - google-redirec t - v irus-fr om-windows-xpvista7/feed/" />
     37 l <l ink rel =' stylesheet' id=' gdsr_style_main-css'
          href =' http://blog.teesupport.com/wp-conten t /plugins/gd-star-
          rating/css/gdsr.css.php?
          t=l350000954&amp;s=al0il0m20k20c05r05 %23121620243046%23121620243240%23slpchristma
          s%23slpcrystal %23slpdarkness %23slpoxygen%23slgoxygen gif%23slpplain%23slppumpkin %
          23slpsoft%23slpstarrating %23slpstarscape %23tlpclassical%23tlpstarrating%23tlgstar
          rating gif%23lsgflower&amp;o=off&#038;ver=l.9.18' type =' text/css' media =' all' />
     38 <link rel = 'stylesheet' id= 'gdsr style xtra-css'
          href = 'http://blog.teesupport.com/wp-content/gd-star-rating/css/ratinq.css?
-A ew-source:bl og .teesupport.com'how-to-remoi.e-g oog le-redirect- -A rus-manuaJ ly-hel p-to-el irri nate-g oog le-redi rect--A rus-from-v.1 ndow.>-Jq:J-A sta7l#more-47087           1/46
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8/9/13        l.1ew-source:blog.teesupport.com'how-to-rerno1.e-google-redirect-l.1rus-manually-help-to-eliminate-google-redirect-l.1rus-from-wndows-xpl.1sta7/#more-47087
          I settings   are added there , you need to manually stop the proxy . </p>
    570    <p>S) Clear up your web browser records , unwanted tool bar add - ons and unknown
           cookies on your Internet explorer and Mozilla Firefox browsers . </p>
    571 <h3>User: I don&#8217;t have much manual virus removal experience and I am afraid
         I to crash my computer by mistake. <strong>I have tried every reputable AV scanner
           but I still can&#8217 ; t remove the pesky</strong> Google redirect virus<strong> ,
           what now? </st r ong>Am I hopeless since Google redirect virus is too stubborn and
           I cannot fix it on my own?</h3>
    572 <p>Even you are over 70 - years - old or it is in the cool dark night , you can get
           rid of the annoying Google redirect virus immediately to save back your PC in
           time because the following method is very easy to operate . <span style = "color:
        II #ffOOOO;">Wow ! ! !</span><br />
    ~3 1 <img title="TS-remote_support" src = " .. /wp-content/uploads/2011/07/TS-
        i remote support.qi£" alt= "" width ="3 50" height =" 231" /></p>
    574 <p>Tee Support (Home page : <a
           href =" http://www.teesupport.com/">www . teesupport.com</a>) is a legit onl ine PC
           repair company with <span style="text-decoration : underline;"><a
        l href = "http://www.teesupport.com/satisfaction.php " target ="_blank"><sp an
        ' style="color: #339966;">No Fix No Pay Virus Removal Guarantee</span></a></span>!
           If you have any PC problem, just click to <span style= "color: #ffOOOO;">< span
           style="text-decoration: underline;"><strong><a
           href =" http://www.t eesupport.com/services/" target="_blank">chat with 24/7 online
           computer experts</a></strong></span></span>.</p>
    575 <p>Then we will wa lk you through so that we can connect to yo ur computer remote l y
           via the world leading remote software <span style = "color:
       i #OOOOff;">TeamV i ewe r </span> (<a href = "htt p://www.teamviewer.com / e n/ index.aspx"
        . target ="_blank">http : //www . teamviewer.com/en/index . aspx</a>). And then you only
           need to sit by and watch your problems being solved safely and completely step by
           step according to your concrete conditions!</p>
    576 <div id="_mcePaste" style="posi ti on: absolute; left: -lOOOOpx; top: 821px; width:
        · lpx; height: lpx; overflow: hidden;"><a title="Remove Coolsearchserver.com.com"
           href =" http://www.spywareremove.com/removecoolsearchservercom.html">cool searchserv
           er . com</a> , <a title =" Remove Webplains.net"
           href =" http://www. spywareremove .com/remo vewebplain sne t.html " >webpla ins.net </a> , <a
           title = "Remove Bodisparking.com"
           href = "http: //www.spywareremove.com/removeBodi sparkingcom. html ">Bodisparking . com</
           a> , <a title = "Remove Zwankysearch.com"
          Ihref =" http://www. sp ywareremove.com/remove z wanky searchcom.html">Zwankysearch.com</
           a> , <a title =" Remove Find-fast-answers.com"
           href =" http://www.spywareremove.com/removefindfastanswerscom.html " >find- fast -
           answers . com</a> ,   <a title ="Remove Njksearc.net"
           href="http://www.spywareremove.com/removenjksearcnet.html">njksearc . net</a>, <a
       '! title= "Remove Qooqlle.com"

           href =" http://www. spywareremove.com/removeQooqllecom.html ">qooqlle . com</a>, <a
           title="Remove Blendersearch.com"
          Ihref=" http://www.spywareremove.com/r emoveb lendersearchcom.html ">Blendersearch . com
           </a> , <a title="Remove Thewebtimes.com"
           href="http:/ /www.spywareremove .c om/remov ethewebtimes com.html ">Thewebtimes . com</a>
           , <a title = "Remove Marveloussearchsystem.com"
           href =" http://www.spywareremove.com/removemarveloussearchsystemcom.html ">Marvelous
           searchsystem . com</a> , <a title="Remove Search-netsite.com"
           href = "http:/ /www. spywareremove.com/r emovesearchnetsitecom.html ">search -
          lnetsite . com</a> , <a title = "Remove Toseeka.com"
       l href="http://www.spywareremove.com/remo veToseekacom.html ">toseeka.com</a> , <a
       I title="Remove AboutBlank"
       i href =" http://www.spywareremove.com/removeAboutBlank.html">AboutB lank< /a> , <a
       l title =" Remove La.vuwl.com"
          I
1.1 ew-source: blog .teesupport. com'how-to-rerno1.e-g oog le-redirect-1.1 rus-manual ly-hel p-to-el imi nate-g oog le-redi rect-1.1 rus-from-w ndows-xpl.1sta7/#more-47087   15/46
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                                 Case 1:13-cv-05635-LGS Document 1 Filed 08/13/13 Page 60 of 81
  819/13         1.iew-source:bl og .teesupport. com'how-to-remo\e-g oog Ie-redi rect-1.i rus-manual ly-hel p-to-el imnate-g oog Ie-redi rect-1.i rus-from-w ndov...s-iq:Jl.i sta7/#mxe-47087
            ! href =" http://www.spywareremove.com/removelavuwlcom.html ">La.vuwl.com< / a>,                     10-
            j direct o ry.com, 63 . 209 .6 9 . 107 , 67.29.139 .1 53 , 7search.com ,         adorika .com, adf .ly,
.-.---tt>i~j admarketplace . com , alive -finder.com ,          alltheservices.com , articlemule . org ,
              asklots . com, <a title="Remove Ave99.com"
              href =" http://www.spywareremove.com/removeave99com.html " >ave99.com< / a>,
              bOOkmarks.com, background- sleuth.net , bargainmatch . com , beoo . com ,
            l bestdiscountinsurance . com , bestsearchpage .c om , bestclicksnow.com,
            , bestmarkstore . com , bestwebchoices.com, bestwebsearch.com, bidsystem .c om ,                    <a
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1/15/13                                                 removevirustool : Search results for admarketplace

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              IShowing posts sorted by relevance for query admarketplace .         Sort by date Show all
                                                                                                              Blog Archive
                                                              posts                                             2013 (11)

          Monday, July 16, 2012                                                                                 2012 (146)
                                                                                                                  December (29)


             Remove Nasty mysearchresults.com                                                                     November (28)

                                                                                                                  October (13)
             Redirect - Manual Removal Guide                                                                      September (8)

             Trouble with mysearchresults.com?                                                                    August (6)

             mysearchresults.com is malicious virus that could be installed to a weak system as                   July (23)

             undesirable toolbar.lt's tricky and cunning , it's not displayed on the add or remove               removellirustool: How to Completely
                                                                                                                   Remove PTCH_SIR .. .
             program.mysearchresults.com redirect virus is not a good site you've imagined it to be ,on
             the contrary, it is malicious Google red irect threat designed by bad cyber guys to furtively       How to Completely Remove
                                                                                                                   PTCH_SIREFEF.PTC from ser ...
             install onto a system as toolbar with careless operation when install some program or
             started on dangerous webpages with its exe file buried.mysearchresults.com can easily               Problem with Trojan horse
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             attack system has no security software or has outdated virus
             scanners .mysearchresults.com attaches its toolbar on web browsers and starts to redirect           Get Rid of/Remove plusnetwork.com
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             users to malicious website or popup adware domains.Computer has mysea rchresults.com
             is not safe any more , as mysearchresults.com downloads and runs other malwares on the              How to Remove ib.adnxs.com ,
                                                                                                                   ib.adnxs.com Removal T...
             background .Personal information could be collected by mysearchresults.com writer.In this
             cas);...admarketplace.com must be terminated as soon as possible no matter it's your                Search Engine Stopped by
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                  - 7lcomputer or work computer suffered from mysearchresults.com.As
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             mysearchresults.com it's gonna messes up the whole system.Go and use the manual                     Redirected to allsafelist.com?
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             guide remove mysearchresults.com redirect virus quickly.
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             Labels: mysearchresults.com, remove mysearchresults.com                                                Get Rid of Li .. .

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1/15/13                                        removevirustool: Search results for admarketplace
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removevirustool .blogspot.com/search?q=admarketplace                                                                                            212
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Rooney                     C
          Business Attorneys
10 East 40tn Street, 42"d Floor. New York. NY 10016
info@rooneypc.com I Te! 212 545 8022 I Fax 646 417 7000




                                                            June 29, 2012

VIA REGISTERED MAIL, RETURN RECEIPT REQUESTED; REGULAR MAIL; and
ELECTRONIC MAIL (legal@teesupport.com; marka@teesupport.com)

Mr. Mark Anderson
TeeSupport, Inc.
Floor #4, Diwang International Commerce Center, Guangxi
Nanning, Guangxi
China 530003

                RE:     Removal of Advertising and Web-Based Content Relating to
                        "admarketplace" or "ad.marketplace.com"

Dear Mr. Anderson:

        We ~Ti te on behalf of our client, adMarketplace Inc., a leading provider of Pay-Per-Click
search syndication advertising and the ov,mer of the AD MARKETPLACE trademark, to demand
that TeeSupport, Inc. and those others acting in concert or active participation with it
(collectively "TeeSupport"), immediately remove TeeSupport' s web-based content and
advertising relating to "adMarketplace" and "admarketplace.com. '

        It has recently come to our attention that TeeSupport's adve1tisements for its virus and
spyware removal services publish false and misleading representations and statements about
adMarketplace. In particular, online advertisements promote the use and sale of TeeSupport's
services to get rid of "Adrnarketplace.com," a purported "fraudulent web hijacker malware
which promotes notorious fake antispyware application," "block[s] security software," and
''flood[s] [users] with numerous commercial advertisements," among other intrusive and harmful
effects. TeeSupport's advertisements recommend its "expert skills" and services in order to
remove Admarketplace.com. See, for example:

            1. http://www.onlinepcsavior.com/how-to-remove-admarketplace-com-virus-guide-
               to-get-rid-of-admarketplace-com-easily/#.T9BTF2_rOeM.twitter
            2. http: //v..rvvw.onlinepcsavior.com/how-to-remove-admarketplace-com-virus-guide-
               to-get-rid-of-admarketplace-com-
               easily/?spreadly=twitter.4fd0534609e9482a44000005
            3. http://blog.teesupport.com/tag/remove-browser-hijacker-programs/
            4. http: //w-vvw.removemalwarespyware.com/guide-to-remove-admarketplace-com-
               rnanually-in-an-effectvie-way/
       Case 1:13-cv-05635-LGS Document 1 Filed 08/13/13 Page 75 of 81


TeeSupport, Inc.
June 29, 2012
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           5. http://digg.com/newsbar/Technology/hijacked_by_admarketplace_com_domain_r
              emove_admarketplace_com_redirect_virus_manually_tee_support_blog
           6. http://v.rww.onlinepcsavior.com/tag/how-to-banish-admarketplace-com/

       As a reputable Internet advertising company, adMarketplace delivers clean, premium
Pay-Per-Click traffic to advertisers, and in no way supports malware or participates in
downloadable software distribution. You are hereby on \\Titten notice that the statements made
in connection with TeeSupport's advertisements are inaccurate, false, and misleading. We
believe that adMarketplace has already been irreparably harmed and damaged.

       TeeSupport's promotion of its services specifically to remove malware called
"admarketplace.com" with knowledge that such malware does not actually exist while at the
same time tarnishing adMarketplace's brand and hard-earned reputation in the process amounts
to, inter alia, deceptive business practices, defamation, tortious interference, product
disparagement, and false advertising.

        adMarketplace considers this a very serious matter. If necessary, adMarketplace will
seek judicial intervention to stop these illegal activities and defend its brand and intellectual
property rights to the fullest extent permissible under the law. Accordingly, we demand that
TeeSupport immediately (l) take down and remove all websites and web pages that contain
advertisements and/or references to "admarketplace" and "admarketplace.com" in connection
with TeeSupport's services and/or offerings; (2) cease all promotion of its services and/or
offerings for use in connection with the removal of "admarketplace.com" or anything else
containing the ADMARKETPLACE trademark; (3) remove all existing content, and cease from
publishing      commentary     and     advertisements,     concerning    aclMarketplace    and/or
admarketplace.com; and (4) send us \.vritten confirmation that such action has been completed no
later than J!1ly 6, 2012.

      This letter is sent without prejudice to any and all other rights and remedies
adMarketplace may have in this matter, all of which are hereby expressly reserved.

                                                           Sincerely,

                                                          \~vuX /1] .ik,kv\ /673
                                                           Brad M. Behar
                                                           Of Counsel

cc: Adam Epstein, adMarketplace
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           EXHIBITG
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    ooney
          Business Attorneys
10 East 40:" Street 42"d Floor, New York, NY 10016
info@rooneypc.C',om I Tel 212 545 8022 I Fax 646 417 7000




                                                            June 29, 2012

VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED, ELECTRONIC MAIL AND
FACSIMILE (abuse@softlayer.com; 214-442-0612)

Abuse Department
SoftLayer Technologies, Inc.
4849 Alpha Road
Dallas, TX 75244

                RE:      Removal of Advertising and Web-Based Content Relating to
                         "admarketplace" or "admarketplace.com"

To Whom It May Concern:

        We write on behalf of our client, adMarketplace Inc., a leading provider of Pay-Per-Click
search syndication advertising and the owner of the AD MARKETPLACE trademark. SoftLayer
Technologies, Inc. hosts TeeSupport.com (IP: 174.37.176.174), the website of TeeSupport, Inc.
("TeeSupport").

        It has recently come to our attention that TeeSupport's advertisements for its virus and
spyware removal services publish false and misleading representations and statements about
adMarketplace. In particular, online advertisements promote the use and sale of TeeSupport' s
services to get rid of "Admarketplace.com," a purported "fraudulent web hijacker malware
which promotes notorious fake antispyware application," "block[s] security software," and
"flood[s] [users] with numerous commercial advertisements," among other intrusive and harmful
effects. TeeSupport's advertisements recommend its "expert skiUs" and services in order to
remove Admarketplace.com. See, for example:

            1. http ://blog. teesupport.corn/tag/remove-browser-hijacker-programs/
            2. http ://www.onlinepcsavior.com/how-to-remove-admarketplace-com-virus-guide-
               to-get-rid-of-admarketplace-com-easi1y/#.T9BTF2_rOeM.twitter
            3. http://www.onlinepcsavior.com/bow-to-remove-admarketplace-com-virus-guide-
               to-get-rid-of-admarketplace-com-
               easily/?spreadly=twitter.4fd0534609e9482a44000005
            4. http: //vvww.onlinepcsavior.com/tag/how-to-banish-admarketplace-com/
            5. http://www.removemalwarespyware.com/ guide-to-rernove-admarketplace-com-
               manually-in-an-effectvie-way/
            6. http ://digg.corn/newsbar/Technology/hijacked_by_ admarketplace _com_domain_r
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SoftLayer Technologies, Inc.
June 29, 2012
Page 2of2


        As a reputable Internet advertising company, adMarketplace delivers clean, premium
Pay-Per-Click traffic to adve1tisers, and in no way supports malware or participates in
downloadable software distribution. The statements made in contiection with TeeSupport's
adve1iisements are inaccurate, false, and misleading. We believe that adMarketplace has already
been irreparably harmed and damaged. TeeSupp01i's promotion of its services specifically to
remove malware called "admarketplace.corn" with knowledge that such malware does not
actually exist while at the same time tarnishing adMarketplace's brand and hard-earned
reputation in the process amounts to, inter alia, deceptive business practices, defamation, tortious
interference, product disparagement, and false advertising.

       adMarketplace considers this a very serious matter. We request your cooperation to
immediately remove TeeS upport's web-based content and advertising relating to
"adMarketplace" and "admarketplace.com" from all websites managed or otherwise controlled
by you and/or TeeSupport, including, but not limited to, TeeSupport.. com. In furtherance of that
goal, we request that SoftLaycr provide us with all contact infonnation for TeeSupport including
the name and address for the contact in the United States, that person being Mark Anderson or
someone else. We also ask that you contact us to discuss the matter and the other corrective
measures that need to be taken. We look forward to hearing from you soon.

                                                             Sincerely,

                                                             ~ ir1 .~\$V\/1JJ3
                                                             Brad M. Behar
                                                             Of Counsel

cc: Adam Epstein, adMarketplace
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Rooney PC
          Business Attorneys
10 East 40in Street. 42°° Floor, New York, NY 10016
:nfo@rooneypc.com l Tel 212 545 8022 I Fax 646 417 7000




                                                            November 16, 20 I 2

VIA REGJSTERED MAIL, RETURN RECEIPT REQU ESTED; REGULAR MAIL; and
ELECTRONIC MAIL (teesupport.agent@gmail.com; legal@teesupport.com;
marka@teesupport.com)

Mr. Mark Anderson/Legal Department
TeeSupport, Inc.
Floor #4, Diwang International Commerce Center, Guangxi
Nanning, Guangxi
China 530003

               RE:     RemovaJ of Advertising and Web-Based Content Relating to
                       ''AMPNETWORK.NET"

Dear Mr. Anderson:

        We previously wrote to you on June 29, 2012 on behalf of our client, adMarketplace Inc.
(''adMarketplace"), to demand that TeeSupport, Inc. and those others acting in concert or active
participation with it (collectively "TeeSupport") remove TeeSupport's false and misleading web-
based content and advertising relating to ''admarketplace.com" and the ADMARKETPLACE
trademark.

         It has recently come to our attention that TeeSupport is now publishlng and/or sponsoring
similarly false and misleading representations and statements about AMPNETWORK.NET, a
domain owned by adMarketplace. In particular, a post on http://removevirustool.blogspot.com
promotes TeeSupport's virus and spyware removal services to get rid of
"AM PNETWORK.NET;' a purported malware which causes "computer stability [to] be violated
. .. security settings [to] be changed and ... parasites [to] kick in," among other intrusive and
harmful effects. The post can be found on:

           I. http: //removevirustool.blogspot.com/2012/08/how-to-manuaUy-delete-
              remove.html
           2. http ://removevirustool.blogspot.com/2012_ 08 _ 0 l _archlve.html
           3. http: //removevirustoo 1. blogspot.com/2012

        As we previously made clear, adMarketpJace is a reputable Internet advertising company,
delivering clean, premium Pay-Per-Click traffic to advertisers, and in no way supports malware
or participates in downloadable software distribution through AMPNETWORK.NET or
otherwise. AMPNETWORK.NET is a legitimate and reputable website. The statements made
regarding AMPNETWORK.NET in connection with TeeSupport's offering of services are
inaccurate. false, and misleading.
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TeeSupport, Inc.
November 16. 2012
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        TeeSupport had already caused great damage to adMarketplace with its prior
advertisements relating to "admarketplace.com" and the ADMARKETPLACE trademark.
TeeSupport is now causing further irreparable damage to adMarketplace through its false claims
relating to ampnetwork.net and the AMPNETWORK trademark. We remind you that, by
promoting services to remove malware called "AMPNETWORK.NET" while knowing that such
malware does not actuall y exist, and tarnishing the reputation of adMarketplace in the process,
TeeSupport is engaging in deceptive business practices, trademark infringement, defamation,
tortious interference, product disparagement, and false advertising, among other things.

        adMarketpJace will not tolerate TeeSupport's continuing harmful and illegal activities
against it, its business and reputation. adMarketplace will do whatever is necessary to stop these
illegal activities and defend its rights to the fullest extent permissible under the law, including
seeking judicial intervention. Accordingly, we demand that TeeSupport immediately (I) take
down and remove all websites and web pages that contain advertisements and/or references to
AMPNETWORK.NET in connection with TeeSupport's services and/or offerings; (2) cease all
promotion of its services and/or offerings for use in connection with the removal of
''AMPNETWORK.NET'' ; (3) remove all existing content, and cease from publishing
commentary and advertisements, concerning AMPNETWORK.NET; and (4) send us written
confim1ation that such action has been completed no later than November ,26, 20/2.

       This letter is sent without prejudice to any and all other rights and remedies
ad Marketplace may have in this matter, all of which are hereby expressly reserved.

                                                            Sincerely,

                                                             f; r ~ 1Y/ , {3e_)i WI    /,    .
                                                            Brad M. Behar               DM µ
                                                            Of Counsel

cc: Adam Epstein, adMarketplace
